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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   PECOS DIVISION

 NABORS DRILLING TECHNOLOGIES                      §        CIVIL ACTION NO. _____________
 USA, INC. d/b/a CANRIG DRILLING                   §
 TECHNOLOGY, LTD.,                                 §
                                                   §
         Plaintiff,                                §        CAUSE NO. DC19-17645
                                                   §        DISTRICT COURT
 V.                                                §
                                                   §
 PERFORMANCE DRILLING                              §
 COMPANY LLC                                       §
                                                   §
         Defendant.                                §

                                     NOTICE OF REMOVAL

        Defendants PERFORMANCE DRILLING COMPANY LLC (collectively, “Defendant”

or “Performance”) files this Notice of Removal of the above entitled action to the United States

District Court for the Western District of Texas, Pecos Division, pursuant to 28 U.S.C. §§ 1332,

1441 and 1446, and in support thereof, would respectfully show the court as follows:

        1.      The above entitled action was commenced on August 8, 2019 and is now pending

in a civil action at law brought by Plaintiff NABORS DRILLING TECHNOLOGIES USA, INC.

d/b/a CANRIG DRILLING TECHNOLOGY, LTD. (“Plaintiff”).

        2.      Plaintiff, at the time of commencement of this action was a Texas corporation,

authorized and conducting business in Winkler County, Texas.

        3.      Performance is a Mississippi limited liability company, with its principal place of

business at 3021 Hwy 80 E., Brandon, MS 39042.

        4.      This civil action involves diversity jurisdiction. All parties are diverse and the

amount in controversy exceeds $1,000,000.



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        5.      True and correct copies of the pleadings and other documents on file in the state

court proceeding are attached hereto as follows:

                 Exhibit        Date                  Filing

                 A              08/19/2019            Case Summary for Case No. DC19-17645

                 B              08/09/2019            Plaintiff’s Original Petition and Verified
                                                      Application for Injunctive Relief

                 C              08/15/2019            Citation with Affidavit of Service for
                                                      Performance Drilling Company

                 D              08/19/2019            Motion to Dissolve Temporary Restraining
                                                      Order

                 E              08/19/2019            Defendant’s Original Answer

        6.      In addition, Performance received a copy of a signed Temporary Restraining Order

dated August 9, 2019 which is attached as Exhibit F. Such order is not reflected in the Court’s

records and Performance has not been served with a Writ of Injunction and does not have

information regarding the posting of the bond required to make the order effective.

        7.      The Defendant was served with the state court petition and citation on August 13,

2019. This Notice of Removal is filed within thirty (30) days of service of the petition and citation.

        8.      Written notice of the filing of this Notice of Removal and a copy of this Notice of

Removal are being served upon the Plaintiff through its counsel of record and will be filed with

109th Judicial District Court of Winkler County, Texas.

        WHEREFORE, PREMISES CONSIDERED, Performance prays that this honorable Court

accept jurisdiction of this action.




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                                           Respectfully submitted,

                                           /s/ Jeffrey R. Seckel [2019-08-20]
                                           JEFFREY R. SECKEL
                                           Texas Bar Number 17973200
                                           MCGUIRE CRADDOCK STROTHER PC
                                           2501 North Harwood, Suite 1800
                                           Dallas, Texas 75201
                                           T: (214) 954-6800
                                           F: (214) 954-6850
                                           jseckel@mcslaw.com

                                           ATTORNEY FOR DEFENDANT




                              CERTIFICATE OF SERVICE

      I, Jeffrey R. Seckel, certify that on August 20, 2019, my office served the foregoing
document, via electronic service, facsimile or certified, return receipt requested US Mail, on:

         Kenneth P. Green                           R. Layne Rouse
         SNOW SPENCE GREEN LLP                      Dick R. Holland
         2929 Allen Parkway, Suite 2800             SHAFER, DAVIS, O’LEARY & STOKER, INC.
         Houston, Texas 77019                       700 North Grant Ave., Suite 201
         T: (713) 335-4800                          P.O. Drawer 1552
         F: (713) 335-4848                          Odessa, Texas 79760
         kgreen@snowspencelaw.com                   T: (432) 695-6122
         Attorneys for Plaintiff                    F: (432) 333-5002
                                                    lrouse@shaferform.com
                                                    dholland@shaferfirm.com
                                                    Attorneys for Plaintiff


                                                   /s/ Jeffrey R. Seckel [2019-08-20]
                                                   JEFFREY R. SECKEL




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                                                                             5 of8/9/2019
                                                                             Sherry 117
                                                                                    Terry
                                                                                          11:30 AM

                                                                                           District Clerk
                                                                                           Winkler County, Texas
                                                                                           Reviewed By: Dixie Randolph
                                                           DC19-17645
                                                CAUSE NO. ____________


              NABORS DRILLING TECHNOLOGIES                    §         IN THE DISTRICT COURT OF
              USA, INC. d/b/a CANRIG DRILLING                 §
              TECHNOLOGY, LTD.                                §
                                                              §
                        Plaintiff,                            §
                                                              §         WINKLER COUNTY, TEXAS
              v.                                              §
                                                              §
              PERFORMANCE DRILLING                            §
              COMPANY LLC,                                    §
                                                              §         109TH JUDICIAL DISTRICT
                        Defendant.

                                      PLAINTIFF’S ORIGINAL PETITION AND
                                 VERIFIED APPLICATION FOR INJUNCTIVE RELIEF

                    Plaintiff Nabors Drilling Technologies USA, Inc. d/b/a Canrig Drilling Technology, Ltd.

             (“Canrig” or “Plaintiff”) files this suit against Performance Drilling Company LLC (“Performance

             Drilling” or “Defendant”) for breach of contract, suit on sworn account, breach of the Texas

             Construction Trust Fund Act, and for injunctive relief to enjoin the unlawful retention and/or

             diversion of trust funds, and would respectfully show the Court as follows:

                                         I.    DISCOVERY CONTROL PLAN

                    1.        Canrig intends for this matter to be conducted under Level 2 of Rule 190 of the

             Texas Rules of Civil Procedure.

                                               II.   NATURE OF CASE

                    2.        Canrig furnished equipment, labor and services to Performance Drilling under a

             Rental Agreement dated June 22, 2018, including a Top Drive, Power Catwalk and related

             equipment, labor and services for Performance Drilling’s Rig #28 for the drilling of oil and gas

             wells located in Winkler County and operated by Impetro Operating, LLC (“Impetro”) and owned

             by Lilis Energy, Inc. (“Lilis”). Performance Drilling owes Canrig $1,185,131.65, exclusive of




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             interest and attorneys’ fees. Lilis has informed Canrig that it has recently paid Performance

             Drilling over $2 million for the drilling operations conducted for Impetro and Lilis. While

             Performance Drilling has received over $2 million from Lilis in construction payments, which

             together with any prior payments received by Performance Drilling consitute trust funds under

             Chapter 162 of the Texas Property Code, for which Performance Drilling is a trustee and Canrig

             is a trust beneficiary, Performance Drilling has failed to pay Canrig’s invoices and has, at a

             minimum, unlawfully retained the trust funds. Further, Performance Drilling has breached the

             Rental Agreement with Canrig by failing to pay Canrig’s invoices when due, which has

             necessitated the filing of this lawsuit.

                                                        III.   PARTIES

                      3.     Plaintiff Nabors Drilling Technologies USA, Inc. d/b/a Canrig Drilling

             Technology, Ltd. is a Texas corporation duly authorized to conduct business in the State of Texas,

             with its principal place of business located at 515 West Greens Road, Suite 300, Houston, Texas

             77067.

                      4.     Defendant Performance Drilling Company LLC, a foreign corporation organized

             and existing under the laws of Mississippi, whose principal office is located at 125 South Congress

             Street, Suite 1610, Jackson, MS 39201. Performance Drilling is authorized to conduct business in

             Texas and does conduct business in Texas, including with respect to the drilling operations

             conducted in Winkler County which form the basis of this lawsuit. Performance Drilling may be

             served with process by serving its registered agent for service of process, CT Corporation System,

             in Dallas County, at 1999 Bryan St., Ste. 900, Dallas, Texas 75201-3136.

                                         IV.     JURISDICTION AND VENUE

                      5.     The amount in controversy is within the jurisdictional limits of this Court.

             Performance Drilling has minimum contacts with the State of Texas and this Court has personal


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             jurisdiction over Performance Drilling and subject matter jurisdiction over this dispute. All or a

             substantial part of the wrongful acts of Performance Drilling which form the basis of Canrig’s

             claims occurred in Winkler County, Texas.

                                              V.   STATEMENT OF FACTS

                    6.      On June 22, 2018, Canrig and Performance Drilling executed the Rental Agreement

             which is attached as Exhibit A and incorporated herein by reference, pursuant to which, among

             other things, Canrig agreed to furnish a Top Drive, Power Catwalk and related equipment,

             material, labor and services as set forth in the Rental Agreement.

                    7.      Canrig has performed all obligations required of Canrig under the Rental

             Agreement. Performance Drilling has used the equipment and services provided by Canrig to

             conduct drilling operations for Impetro and CrownQuest Operating, LLC, for which Performance

             Drilling has earned substantial drilling revenue, including over $2 million in payments from Lilis

             (an affiliate of Impetro) between April 19, 2019 and June 1, 2019, for which Performance Drilling

             has not paid Canrig.

                    8.      The invoiced amounts for Canrig’s equipment and services are summarized below,

             and the invoices are attached as Exhibit B.

              Customer Name         Invoice    Amount Due County       Well        Operator     Service Dates
                                    Number
              PERFORMANCE           C074-      24,965.70   Glasscock   Furqueron   CrownQuest   7/1/18-7/31/18
              DRILLING CO LLC       10560                              #1HD        Operating,
                                                                                   LLC
              PERFORMANCE           C074-      48,496.00   Glasscock   Furqueron   CrownQuest   7/15/18-7/31/18
              DRILLING CO LLC       10678                              #1HD        Operating,
                                                                                   LLC
              PERFORMANCE           C074-      11,779.77   Glasscock   Furqueron   CrownQuest   8/1/18-8/31/18
              DRILLING CO LLC       10557                              #1HD        Operating,
                                                                                   LLC
              PERFORMANCE           C074-      83,352.50   Winkler     OSO #1H     Impetro      8/1/18-8/31/18
              DRILLING CO LLC       10676                                          Operating,
                                                                                   LLC
              PERFORMANCE           C074-      10,554.38   Winkler     OSO #1H     Impetro      8/19/18-8/31/18
              DRILLING CO LLC       10555                                          Operating,
                                                                                   LLC



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              Customer Name     Invoice   Amount Due County        Well        Operator     Service Dates
                                Number
              PERFORMANCE       C074-     115,286.25   Winkler     OSO #1H     Impetro      9/1/18-9/30/18
              DRILLING CO LLC   10677                                          Operating,
                                                                               LLC
              PERFORMANCE       C074-     107,607.00   Winker      OX #1HR     Impetro      10/1/18-10/31/18
              DRILLING CO LLC   10636                                          Operating,
                                                                               LLC
              PERFORMANCE       C074-     232,495.03   Winkler     OX #1HR     Impetro      11/3/18-12/1/18
              DRILLING CO LLC   10675                                          Operating,
                                                                               LLC
              PERFORMANCE       NDUS-     2,852.57     Glasscock   Furqueron   CrownQuest   12/9/18
              DRILLING CO LLC   P001854                            #1HD        Operating,
                                                                               LLC
              PERFORMANCE       C074-     102,806.12   Winkler     KUDU A      Impetro      1/1/19-1/31/19
              DRILLING CO LLC   10674                              #2H         Operating,
                                                                               LLC
              PERFORMANCE       C074-     107,600.50   Winkler     KUDU A      Impetro      2/1/19-2/28/19
              DRILLING CO LLC   10680                              #2H         Operating,
                                                                               LLC
              PERFORMANCE       NDUS-     115,288.42   Winkler     KUDU A      Impetro      3/1/19-3/31/19
              DRILLING CO LLC   P002777                            #2H         Operating,
                                                                               LLC
              PERFORMANCE       NDUS-     115,286.25   Winkler     KUDU B      Impetro      4/1/19-4/30/19
              DRILLING CO LLC   P002778                            #2H         Operating,
                                                                               LLC
              PERFORMANCE       NDUS-     86,263.36    Winkler     KUBU B      Impetro      5/1/19-5/20/19
              DRILLING CO LLC   P003382                            #2H         Operating,
                                                                               LLC
              PERFORMANCE       226291    112.43
              DRILLING CO LLC
              PERFORMANCE       227360    521.18
              DRILLING CO LLC
              PERFORMANCE       NDUS-     3,989.80
              DRILLING CO LLC   S000037
              PERFORMANCE       NDUS-     7,033.30
              DRILLING CO LLC   S000055
              PERFORMANCE       NDUS-     1,048.87
              DRILLING CO LLC   S000079
              PERFORMANCE       INV300920 349.30
              DRILLING CO LLC
              PERFORMANCE       INV300944 275.40
              DRILLING CO LLC
              PERFORMANCE       INV301886 1,589.17
              DRILLING CO LLC
              PERFORMANCE       INV304571 1,003.95
              DRILLING CO LLC
              PERFORMANCE       NDUS-     1,448.95
              DRILLING CO LLC   S000155
              PERFORMANCE       NDUS-     1,076.67
              DRILLING CO LLC   S000166




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              Customer Name         Invoice   Amount Due County            Well         Operator    Service Dates
                                    Number
              PERFORMANCE           INV308520 275.40
              DRILLING CO LLC
              PERFORMANCE           INV312628 1,773.38
              DRILLING CO LLC
                                                  1,185,131.65

                    9.       Summarized below is a list of payments that was provided to Canrig by Lilis that

             Lilis made to Performance Drilling from April 19, 2019 through July 1, 2019.

              Inv. Date     Paid Date     Invoice No. / Well      Amount          Performance Drilling Rig
              2/4/2019      4/19/2019     28-013119 KUDU A 2H     $208,792.05     842 IDC Drilling Rig-KUDU A #2H
              2/19/2019     4/19/2019     28-021819 KUDU A 2H     $273,975.00     842 IDC Drilling Rig #28-KUDU A #2H
              2/19/2019     4/19/2019     28-021519 KUDU A 2H     $316,125.00     842 IDC Drilling Rig #28-KUDU A #2H
              4/1/2019      5/8/2019      28-033119 KUDU B 2H     $191,084.00     842 IDC Drilling Rig #28-KUDU B #2H
              3/20/2019     5/8/2019      28-031719 KUDU A 2H     $262,087.50     842 IDC Drilling Rig #28-KUDU A #2H
              4/16/2019     6/7/2019      28-041519 KUDU B 2H     $312,328.13     842 IDC Drilling Rig #28-KUDU B #2H
              4/30/2019     6/7/2019      28-043019 KUDU B 2H     $271,828.13     842 IDC Drilling Rig #28-KUDU B #2H
              5/18/2019     7/1/2019      28-051619 KUDU B 2H     $217,849.17     842 IDC Drilling Rig #28-KUDU B #2H
              Total                                               $2,054,248.98

                    10.      Canrig has made demand upon Performance Drilling for payment in full of the

             amounts due to Canrig under the Rental Agreement; however, Performance Drilling has refused

             and failed to remit payment, in breach of its obligations under the Rental Agreement.


                                                 VI.    CAUSES OF ACTION

             Count I – Breach of Rental Agreement

                    11.      Canrig incorporates by reference the Statements of Fact set forth in the preceding

             paragraphs.

                    12.      The elements of a breach of contract claim are the following:

                             1.         There is a valid, enforceable contract;

                             2.         The plaintiff is a proper party to sue for breach of contract;

                             3.         The plaintiff performed, tendered performance of, or was excused from
                                        performing its contractual obligations;

                             4.         The defendant breached the contract; and,




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                            5.      The defendant’s breach caused the plaintiff injury.

             See Davis v. Texas Farm Bur. Ins., 470 S.W.3d 97, 104 (Tex. App.—Houston [1st Dist.] 2015, no
             pet.).

                    13.     The Rental Agreement is a valid enforceable contract. Canrig is the proper party

             to sue for the breach of the contract. Canrig fully performed all its contractual obligations under

             the Rental Agreement. Performance Drilling breached the contract by its refusal and failure to pay

             the amounts due to Canrig. Performance Drilling’s breach of the Rental Agreement caused Canrig

             economic injury. Each element of Canrig’s claim for breach of contract is satisfied.

             Relief Requested on Count I

                    14.     With respect to Count I, Canrig requests the following relief from Performance

             Drilling:

                    a.      Damages. Because of Performance Drilling’s refusal to pay the amounts due and

             owing to Canrig under the Rental Agreement, Canrig has been damaged in the principal amount

             of $1,185,131.65.

                    b.      Pre-Judgment Interest. Canrig is entitled to recover pre-judgment interest from

             Performance Drilling at the highest lawful rate as specified in the Rental Agreement.

                    c.      Costs. Canrig is entitled to recover all costs of court expended in this action.

                    d.      Attorneys’ Fees. Canrig is entitled to recover reasonable attorneys’ fees for all

             work done in the trial court, the appellate court, and the Texas Supreme Court, as necessary.

                    e.      Post-Judgment Interest. Canrig is entitled to recover interest on its judgment from

             the date of judgment until date paid at the highest lawful rate.

                    f.      Additional Relief. Canrig is entitled to all other and further relief, special or

             general, legal or equitable, as it may be shown justly entitled to receive.




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             Count II – Suit on Sworn Account Under Tex. R. Civ. P. 185

                    15.     Canrig incorporates by reference the Statements of Fact set forth in the preceding

             paragraphs.

                    16.     To establish a suit on sworn account under Rule 185 of the Texas Rules of Civil

             Procedure, the plaintiff must establish the following:

                            1.      The plaintiff sold goods or furnished services to the defendant;

                            2.      The prices charged were just and true because they were (1) according to
                                    the terms of a contract, or (2) the usual, customary, and reasonable prices,
                                    if there was no contract;

                            3.      The plaintiff kept a systematic record of the transaction;

                            4.      All lawful offsets, payments, and credits have been applied to the account;

                            5.      The account remains unpaid.

                            6.      The damages are liquidated; and,

                            7.      The plaintiff filed the petition under oath.

             See Tex. R. Civ. 185; Airborne Freight Corp. v. CRB Mktg., Inc.,566 S.W.2d 573, 574 (Tex. 1978).

                    17.     Each requirement for a suit on sworn account is satisfied. Canrig provided goods

             and services to Performance Drilling. The prices charged were just and true in accordance with

             the terms of the Rental Agreement and usual, customary, and reasonable for the equipment and

             services provided by Canrig. Canrig kept a systematic record of the transaction. All lawful offsets,

             payments, and credits have been applied to Performance Drilling’s account. The account remains

             unpaid. The damages are liquidated. Canrig has verified this petition under oath. Thus, Canrig is

             entitled to judgment on its suit on sworn account.

             Relief Requested on Count II

                    18.     With respect to Count II, Canrig requests the following relief from Performance

             Drilling:



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                     a.       Damages. Canrig is entitled to recover from Performance Drilling the principal

             amount due and owing, after all just and lawful offsets, payments and credits of $1,185,131.65.

                     b.       Pre-Judgment Interest. Canrig is entitled to recover pre-judgment interest from

             Performance Drilling at the highest lawful rate.

                     c.       Costs. Canrig is entitled to recover all costs of court expended in this action.

                     d.       Attorneys’ Fees. Canrig is entitled to recover reasonable attorneys’ fees for all

             work done in the trial court, the appellate court, and the Texas Supreme Court, as necessary.

                     e.       Post-Judgment Interest. Canrig is entitled to recover interest on its judgment from

             the date of judgment until date paid at the highest lawful rate.

                     f.       Additional Relief. Canrig is entitled to all other and further relief, special or

             general, legal or equitable, as it may be shown justly entitled to receive.

             Count III – Claim Under Texas Construction Trust Fund Act, Tex. Prop. Code Chapter
             162

                     19.      Canrig incorporates by reference the Statements of Fact set forth in the preceding

             paragraphs.

                     20.      All payments made to Performance Drilling for drilling operations conducted under

             Performance Drilling’s contracts with Impetro and CrownQuest Operating are trust funds under

             Chapter 162. See Tex. Prop. Code §162.001(a); Wim Transp., Ltd. v. Elite Coil Tubing Solutions,

             LLC, 2014 U.S. Dist. LEXIS 22937 (S.D. Tex. 2014) (Judge Sim Lake); Painter v. Momentum

             Energy Corp., 271 S.W.3d 388 (Tex. App.—El Paso 2008, pet. denied); Moreno v. BP Am. Prod.

             Co., 2008 Tex. App. LEXIS 6897, (Tex. App.—San Antonio 2008, pet. denied); Francis v. Coastal

             Oil & Gas Corp., 130 S.W.3d 76, 85 (Tex. App.—Houston [1st Dist.] 2003, no pet.); Triton Oil &

             Gas Corp. v. E.W. Moran Drilling Co., 509 S.W.2d 678 (Tex. Civ. App.—Fort Worth 1974, writ

             ref’d n.r.e.).



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                    21.        As a contractor who received trust funds and has control or direction of trust funds,

             Performance Drilling is a trustee. Tex. Prop. Code § 162.002.

                    22.        As a subcontractor who furnished equipment, labor, and services for the drilling of

             oil and gas wells, which are improvements on real property located in Winkler County, Canrig is

             a beneficiary of the trust funds. Tex. Prop. Code § 162.003.

                    23.        Performance Drilling, as a trustee who has received trust funds, is statutorily

             required to only use such funds for the payment of current or past due obligations incurred by the

             trustee to the beneficiaries of the trust funds, which include Canrig. Any other retention or use of

             trust funds constitutes a misapplication of trust funds in violation of Chapter 162. Tex. Prop. Code

             § 162.031.

                        VII.    APPLICATION FOR TEMPORARY RESTRAINING ORDER
                               AND TEMPORARY INJUNCTION REGARDING TRUST FUNDS

                    24.        Canrig incorporates by reference the Statements of Fact set forth in the preceding

             paragraphs. Canrig’s application for injunctive relief is further supported by the affidavit of

             Rigoberto Gonzalez, Operations Manager for Nabors Drilling Technologies USA, Inc., attached

             as Exhibit C.

                    25.        Canrig seeks a temporary restraining order, temporary injunction, and upon a trial

             on the merits or other dispositive motion or hearing, a permanent injunction against Performance

             Drilling enjoining Performance Drilling from unlawfully retaining, using, disbursing, or diverting

             trust funds in violation Chapter 162 of the Texas Property Code and requiring Performance

             Drilling to provide an accounting to Canrig for Performance Drilling’s use or maintenance of such

             funds which shall include an identification of (i) all amounts paid to Performance Drilling by

             Impetro or Lilis, (ii) in what account such funds are held, and (iii) to whom any such funds have

             been disbursed, when such disbursements were made, and for what purpose. To date, Performance



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             Drilling has, at a minimum, unlawfully retained trust funds without paying all current and past due

             obligations incurred by Performance Drilling (as trustee) to Canrig (as a trust beneficiary), with

             respect to known amounts paid to Performance Drilling by Lilis of over $2 million and non-

             payment of amounts due to Canrig totaling $1,185,131.65. Defendant’s conduct to date, coupled

             with the continued threat of an unlawful use, disbursement, or other diversion of trust funds

             constitutes a threat of irreparable injury to Canrig which justifies issuance of a temporary

             restraining order.

                    26.     This Court may grant a temporary restraining order if it determines that the

             applicant is entitled to preservation of the status quo of the subject matter of the suit, in this case

             an order enjoining Performance Drilling from retaining, using, dispersing, or otherwise diverting

             trust funds, pending a trial on the merits.

                    27.     Section 65.011 of the Texas Civil Practice and Remedies Code provides that:

             A writ of injunction may be granted if:

                            (1)     the applicant is entitled to the relief demanded and all or part of the relief
                                    requires the restraint of some act prejudicial to the applicant;

                            (2)     a party performs or is about to perform or is procuring or allowing the
                                    performance of an act relating to the subject of pending litigation, in
                                    violation of the rights of the applicant, and the act would tend to render the
                                    judgment in that litigation ineffectual;

                            (3)     the applicant is entitled to a writ of injunction under the principles of equity
                                    and the statutes of this state relating to injunctions;

                            (4)     a cloud would be placed on the title of real property being sold under an
                                    execution against a party having no interest in the real property subject to
                                    execution at the time of sale, irrespective of any remedy at law; or

                            (5)     irreparable injury to real or personal property is threatened, irrespective of
                                    any remedy at law.

             TEX. CIV. PRAC. & REM. CODE § 65.011. “The purpose of a temporary injunction is to

             preserve the status quo of the litigation’s subject matter pending a trial on the merits.” R&R Res.


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             Corp. v. Echelon Oil & Gas, L.L.C., No. 03-05-479-CV, 2006 Tex. App. LEXIS 326, at *10 (Tex.

             App.—Austin Jan. 10, 2006, no pet.) (citing Butnaru v. Ford Motor Co., 84 S.W.3d 198, 204 (Tex.

             2002)); see also Tri-Star Petroleum Co. v. Tipperary Corp., 101 S.W.3d 583 (Tex. App. – El Paso

             2003). “Injunctions may also issue when the status quo is not a condition of rest but of action,

             because the condition of rest will inflict irreparable injury on the complainant.” Id. (citing RP&R,

             Inc. v. Territo, 32 S.W.3d 396, 401 n.3 (Tex. App.—Houston [14th Dist.] 2000, no pet.). “To

             obtain a temporary injunction, the applicant must plead and prove three specific elements: (1) a

             cause of action against the defendant; (2) a probable right to the relief sought; and (3) a probable,

             imminent, and irreparable injury in the interim.” Butnaru, 84 S.W.3d at 204; see also Walling v.

             Metcalfe, 863 S.W.2d 56, 58 (Tex. 1993) (“Simply because the applicant for a temporary

             injunction asks only for damages as ultimate relief does not guarantee that damages are completely

             adequate as a remedy . . . circumstances can arise in which a temporary injunction is appropriate

             to preserve the status quo pending an award of damages at trial.”).

                    28.       Canrig is willing to post a bond in an amount adequate to support the relief

             requested herein although Canrig asserts that the amount of the bond should be minimal and in

             any event should not exceed $10,000 because the risk of harm to Performance Drilling with respect

             to being required to comply with its statutory duties under the Texas Construction Trust Fund Act

             is minimal.

                    29.       A proposed Form of Temporary Restraining Order is attached as Exhibit D.

                                      VIII.    REQUEST FOR DISCLOSURE

                    30.       Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Performance is

             requested to disclose within 50 days of service of this request the information or material described

             in Rule 194.2.




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                                                         PRAYER
                    WHEREFORE, PREMISES CONSIDERED, Canrig Drilling Technology, Ltd. prays for

             a Final Judgment on Counts I-III awarding Canrig the relief requested herein, injunctive relief

             requested herein, and for such other and further relief to which it may be entitled.

             Dated: August 8, 2019                         Respectfully submitted,

                                                           SNOW SPENCE GREEN LLP

                                                           By:     /s/ Kenneth P. Green
                                                                   Kenneth P. Green
                                                                   State Bar No. 24036677
                                                                   kgreen@snowspencelaw.com
                                                                   2929 Allen Parkway, Suite 2800
                                                                   Houston, Texas 77019
                                                                   Telephone: (713) 335-4800
                                                                   Facsimile: (713) 335-4848

                                                           SHAFER, DAVIS, O’LEARY & STOKER, INC.

                                                           By:     /s/ Layne Rouse
                                                                   R. Layne Rouse
                                                                   State Bar No. 24066007
                                                                   lrouse@shaferfirm.com
                                                                   Dick R. Holland
                                                                   State Bar No. 09845050
                                                                   dholland@shaferfirm.com
                                                                   700 North Grant Ave, Suite 201
                                                                   P.O. Drawer 1552
                                                                   Odessa, Texas 79760
                                                                   Telephone: (432) 695-6122
                                                                   Facsimile: (432) 333-5002

                                                           ATTORNEYS FOR PLAINTIFF,
                                                           NABORS DRILLING TECHNOLOGIES USA,
                                                           INC. d/b/a CANRIG DRILLING
                                                           TECHNOLOGY, LTD.




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                                                                               CANRIG INVOICE

                                                                                                                                                                               Page :
                                                                                                                                                                               Invoice No :
                                                                                                                                                                                                         1
                                                                                                                                                                                                         C074-10560
                                                                                                                                                                                                                            B
                                                                                                                                                                               Invoice Date :            09/17/2018
  Please Remit To :
                                                                                                                                                                               Customer Number :         942411
  Canrig Drilling Technology Ltd.
                                                                                                                                                                               Payment Terms :           Net30
  P.O. Box 206317
                                                                                                                                                                               AMOUNT DUE :              $24,965.70
  Dallas TX 75320-6317


                                                                       Customer :
                                                                                                                                                                               COUNTY :                  Glasscock
                                                                       PERFORMANCE DRILLING CO LLC                                                                                                       Texas
                                                                                                                                                                               STATE :
                                                                       PO BOX 1748
                                                                                                                                                                               LEASE :                   FURQUERON #1HD
                                                                       BRANDON MS 39043
                                                                                                                                                                               WELL :                    PERFORMNCE28
                                                                                                                                                                                                         PO# 282390




                                                                       TERMS: Invoice payable Net 30 days from Invoice date. Past due Invoices subject to finance charges at
  For billing questions, please call      281-259-8887                 maximum rate from due date.


 From Date             To Date         Ticket Date   Ticket #            Description                                                  PO Line#        Tax       Equipment      Quantity UOM             Unit Amount       Net Amount

 07/02/2018            07/31/2018      07/31/2018    074RT001188000      POWERCAT RENTAL                                                                Y          074RT         30.00    DAY                    750.00    22,500.00
 07/01/2018            07/01/2018                                        POWERCAT STANDBY RATE                                                          Y          074RT          1.00    DAY                    563.00       563.00
                                                                                                                                                                                                 Ticket Total:             23,063.00
                                                                                                                                                                                                 Well Total :              23,063.00
                                                                                                                                                                                                Lease Total :              23,063.00
                                                                                                                                                                                                   SUBTOTAL:              23,063.00
                                                                                                                                                                                                    Taxes For


                                                                                                                                                      CITY OF ODESSA                                1.2500%                  $288.29

                                                                                                                                                      ECTOR CO HOSPITAL DISTRICT                    0.7500%                  $172.97

                                                                                                                                                      STATE OF TEXAS                                6.2500%                $1,441.44



                                                                                                                                                                                        TOTAL AMOUNT DUE:                 24,965.70




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                                                                                                                                                                               Page :                    1
                                                                                                                                                                               Invoice No :              C074-10678
                                                                                                                                                                               Invoice Date :            05/21/2019
  Please Remit To :
                                                                                                                                                                               Customer Number :         942411
  Canrig Drilling Technology Ltd.
                                                                                                                                                                               Payment Terms :           Net30
  P.O. Box 206317
                                                                                                                                                                               AMOUNT DUE :              $48,496.00
  Dallas TX 75320-6317


                                                                       Customer :
                                                                                                                                                                               COUNTY :                  Glasscock
                                                                       PERFORMANCE DRILLING CO LLC                                                                                                       Texas
                                                                                                                                                                               STATE :
                                                                       PO BOX 1748
                                                                                                                                                                               LEASE :                   FURQUERON #1HD
                                                                       BRANDON MS 39043
                                                                                                                                                                               WELL :                    PERFORMNC28
                                                                                                                                                                                                         PO# 282693




                                                                       TERMS: Invoice payable Net 30 days from Invoice date. Past due Invoices subject to finance charges at
  For billing questions, please call      281-259-8887                 maximum rate from due date.


 From Date             To Date         Ticket Date   Ticket #            Description                                                  PO Line#        Tax       Equipment      Quantity UOM             Unit Amount       Net Amount

 07/15/2018            07/31/2018      07/31/2018    074RT001188431      TOPDRIVE RENTAL                                                                Y          074RT         16.00    DAY                2,800.00      44,800.00
                                                                                                                                                                                                 Ticket Total:             44,800.00
                                                                                                                                                                                                 Well Total :              44,800.00
                                                                                                                                                                                                Lease Total :              44,800.00
                                                                                                                                                                                                   SUBTOTAL:              44,800.00
                                                                                                                                                                                                    Taxes For


                                                                                                                                                      CITY OF ODESSA                                1.2500%                  $560.00

                                                                                                                                                      ECTOR CO HOSPITAL DISTRICT                    0.7500%                  $336.00

                                                                                                                                                      STATE OF TEXAS                                6.2500%                $2,800.00



                                                                                                                                                                                        TOTAL AMOUNT DUE:                 48,496.00




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                                                                               CANRIG INVOICE

                                                                                                                                                                               Page :                    1
                                                                                                                                                                               Invoice No :              C074-10557
                                                                                                                                                                               Invoice Date :            09/17/2018
  Please Remit To :
                                                                                                                                                                               Customer Number :         942411
  Canrig Drilling Technology Ltd.
                                                                                                                                                                               Payment Terms :           Net30
  P.O. Box 206317
                                                                                                                                                                               AMOUNT DUE :              $11,779.77
  Dallas TX 75320-6317


                                                                       Customer :
                                                                                                                                                                               COUNTY :                  Glasscock
                                                                       PERFORMANCE DRILLING CO LLC                                                                                                       Texas
                                                                                                                                                                               STATE :
                                                                       PO BOX 1748
                                                                                                                                                                               LEASE :                   FURQUERON #1HD
                                                                       BRANDON MS 39043
                                                                                                                                                                               WELL :                    PERFORMNC28
                                                                                                                                                                                                         PO# 282391




                                                                       TERMS: Invoice payable Net 30 days from Invoice date. Past due Invoices subject to finance charges at
  For billing questions, please call      281-259-8887                 maximum rate from due date.


 From Date             To Date         Ticket Date   Ticket #            Description                                                  PO Line#        Tax       Equipment      Quantity UOM             Unit Amount       Net Amount

 08/01/2018            08/31/2018      08/31/2018    074RT001188333      POWERCAT RENTAL                                                                Y          074RT          4.00    DAY                    750.00     3,000.00
 08/15/2018            08/18/2018                                        POWERCAT STANDBY RATE                                                          Y          074RT         14.00    DAY                    563.00     7,882.00
                                                                                                                                                                                                 Ticket Total:             10,882.00
                                                                                                                                                                                                 Well Total :              10,882.00
                                                                                                                                                                                                Lease Total :              10,882.00
                                                                                                                                                                                                   SUBTOTAL:              10,882.00
                                                                                                                                                                                                    Taxes For


                                                                                                                                                      CITY OF ODESSA                                1.2500%                  $136.03

                                                                                                                                                      ECTOR CO HOSPITAL DISTRICT                    0.7500%                   $81.62

                                                                                                                                                      STATE OF TEXAS                                6.2500%                  $680.12



                                                                                                                                                                                        TOTAL AMOUNT DUE:                 11,779.77




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                                                                                                                                                                               Page :                    1
                                                                                                                                                                               Invoice No :              C074-10676
                                                                                                                                                                               Invoice Date :            05/21/2019
  Please Remit To :
                                                                                                                                                                               Customer Number :         942411
  Canrig Drilling Technology Ltd.
                                                                                                                                                                               Payment Terms :           Net30
  P.O. Box 206317
                                                                                                                                                                               AMOUNT DUE :              $83,352.50
  Dallas TX 75320-6317


                                                                       Customer :
                                                                                                                                                                               COUNTY :                  Winkler
                                                                       PERFORMANCE DRILLING CO LLC                                                                                                       Texas
                                                                                                                                                                               STATE :
                                                                       PO BOX 1748
                                                                                                                                                                               LEASE :                   OSO #1H
                                                                       BRANDON MS 39043
                                                                                                                                                                               WELL :                    PERFORMNC28
                                                                                                                                                                                                         PO# 282695




                                                                       TERMS: Invoice payable Net 30 days from Invoice date. Past due Invoices subject to finance charges at
  For billing questions, please call      281-259-8887                 maximum rate from due date.


 From Date             To Date         Ticket Date   Ticket #            Description                                                  PO Line#        Tax       Equipment      Quantity UOM             Unit Amount     Net Amount

 08/01/2018            08/04/2018      08/31/2018    074RT001188432      TOPDRIVE RENTAL                                                                Y          074RT          4.00    DAY                2,800.00    11,200.00
 08/19/2018            08/31/2018                                        TOPDRIVE RENTAL                                                                Y          074RT         13.00    DAY                2,800.00    36,400.00
 08/05/2018            08/18/2018                                        TOPDRIVE STANDBY                                                               Y          074RT         14.00    DAY                2,100.00    29,400.00
                                                                                                                                                                                                 Ticket Total:           77,000.00
                                                                                                                                                                                                 Well Total :            77,000.00
                                                                                                                                                                                                Lease Total :            77,000.00
                                                                                                                                                                                                   SUBTOTAL:            77,000.00
                                                                                                                                                                                                    Taxes For


                                                                                                                                                      CITY OF ODESSA                                1.2500%                $962.50

                                                                                                                                                      ECTOR CO HOSPITAL DISTRICT                    0.7500%                $577.50

                                                                                                                                                      STATE OF TEXAS                                6.2500%              $4,812.50



                                                                                                                                                                                        TOTAL AMOUNT DUE:               83,352.50




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                                                                                                                                                                               Page :                    1
                                                                                                                                                                               Invoice No :              C074-10555
                                                                                                                                                                               Invoice Date :            09/17/2018
  Please Remit To :
                                                                                                                                                                               Customer Number :         942411
  Canrig Drilling Technology Ltd.
                                                                                                                                                                               Payment Terms :           Net30
  P.O. Box 206317
                                                                                                                                                                               AMOUNT DUE :              $10,554.38
  Dallas TX 75320-6317


                                                                       Customer :
                                                                                                                                                                               COUNTY :                  Winkler
                                                                       PERFORMANCE DRILLING CO LLC                                                                                                       Texas
                                                                                                                                                                               STATE :
                                                                       PO BOX 1748
                                                                                                                                                                               LEASE :                   OSO #1H
                                                                       BRANDON MS 39043
                                                                                                                                                                               WELL :                    PERFORMNC28
                                                                                                                                                                                                         PO#282391




                                                                       TERMS: Invoice payable Net 30 days from Invoice date. Past due Invoices subject to finance charges at
  For billing questions, please call      281-259-8887                 maximum rate from due date.


 From Date             To Date         Ticket Date   Ticket #            Description                                                  PO Line#        Tax       Equipment      Quantity UOM             Unit Amount       Net Amount

 08/19/2018            08/31/2018      08/31/2018    074RT001188336      POWERCAT RENTAL                                                                Y          074RT         13.00    DAY                    750.00     9,750.00
                                                                                                                                                                                                 Ticket Total:              9,750.00
                                                                                                                                                                                                 Well Total :               9,750.00
                                                                                                                                                                                                Lease Total :               9,750.00
                                                                                                                                                                                                   SUBTOTAL:               9,750.00
                                                                                                                                                                                                    Taxes For


                                                                                                                                                      CITY OF ODESSA                                1.2500%                  $121.88

                                                                                                                                                      ECTOR CO HOSPITAL DISTRICT                    0.7500%                   $73.13

                                                                                                                                                      STATE OF TEXAS                                6.2500%                  $609.37



                                                                                                                                                                                        TOTAL AMOUNT DUE:                 10,554.38




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                                                                                                                                                                               Page :                    1
                                                                                                                                                                               Invoice No :              C074-10677
                                                                                                                                                                               Invoice Date :            05/21/2019
  Please Remit To :
                                                                                                                                                                               Customer Number :         942411
  Canrig Drilling Technology Ltd.
                                                                                                                                                                               Payment Terms :           Net30
  P.O. Box 206317
                                                                                                                                                                               AMOUNT DUE :              $115,286.25
  Dallas TX 75320-6317


                                                                       Customer :
                                                                                                                                                                               COUNTY :                  Winkler
                                                                       PERFORMANCE DRILLING CO LLC                                                                                                       Texas
                                                                                                                                                                               STATE :
                                                                       PO BOX 1748
                                                                                                                                                                               LEASE :                   OSO #1H
                                                                       BRANDON MS 39043
                                                                                                                                                                               WELL :                    PERFORMNC28
                                                                                                                                                                                                         PO# 282694




                                                                       TERMS: Invoice payable Net 30 days from Invoice date. Past due Invoices subject to finance charges at
  For billing questions, please call      281-259-8887                 maximum rate from due date.


 From Date             To Date         Ticket Date   Ticket #            Description                                                  PO Line#        Tax       Equipment      Quantity UOM             Unit Amount       Net Amount

 09/01/2018            09/30/2018      09/30/2018    074RT001188627      POWERCAT RENTAL                                                                Y          074RT         30.00    DAY                    750.00     22,500.00
 09/01/2018            09/30/2018                                        TOPDRIVE RENTAL                                                                Y          074RT         30.00    DAY                2,800.00       84,000.00
                                                                                                                                                                                                 Ticket Total:             106,500.00
                                                                                                                                                                                                 Well Total :              106,500.00
                                                                                                                                                                                                Lease Total :              106,500.00
                                                                                                                                                                                                   SUBTOTAL:              106,500.00
                                                                                                                                                                                                    Taxes For


                                                                                                                                                      CITY OF ODESSA                                1.2500%                $1,331.25

                                                                                                                                                      ECTOR CO HOSPITAL DISTRICT                    0.7500%                  $798.75

                                                                                                                                                      STATE OF TEXAS                                6.2500%                $6,656.25



                                                                                                                                                                                        TOTAL AMOUNT DUE:                 115,286.25




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                                                                                                                                                                               Page :                    1
                                                                                                                                                                               Invoice No :              C074-10636
                                                                                                                                                                               Invoice Date :            01/23/2019
  Please Remit To :
                                                                                                                                                                               Customer Number :         942411
  Canrig Drilling Technology Ltd.
                                                                                                                                                                               Payment Terms :           Net30
  P.O. Box 206317
                                                                                                                                                                               AMOUNT DUE :              $107,607.00
  Dallas TX 75320-6317


                                                                       Customer :
                                                                                                                                                                               COUNTY :                  Winkler
                                                                       PERFORMANCE DRILLING CO LLC                                                                                                       Texas
                                                                                                                                                                               STATE :
                                                                       PO BOX 1748
                                                                                                                                                                               LEASE :                   OX #1HR
                                                                       BRANDON MS 39043
                                                                                                                                                                               WELL :                    PERFORM 28
                                                                                                                                                                                                         PO# 282524




                                                                       TERMS: Invoice payable Net 30 days from Invoice date. Past due Invoices subject to finance charges at
  For billing questions, please call      281-259-8887                 maximum rate from due date.


 From Date             To Date         Ticket Date   Ticket #            Description                                                  PO Line#        Tax       Equipment      Quantity UOM             Unit Amount       Net Amount

 10/01/2018            10/13/2018      10/31/2018    074RT001189003      POWERCAT RENTAL                                                                Y          074RT         13.00    DAY                    750.00     9,750.00
 10/21/2018            10/26/2018                                        POWERCAT RENTAL                                                                Y          074RT          6.00    DAY                    750.00     4,500.00
 10/14/2018            10/20/2018                                        POWERCAT STANDBY RATE                                                          Y          074RT          7.00    DAY                    563.00     3,941.00
 10/27/2018            10/31/2018                                        POWERCAT STANDBY RATE                                                          Y          074RT          5.00    DAY                    563.00     2,815.00
                                                                                                                                                                                                 Ticket Total:             21,006.00
 10/01/2018            10/13/2018      10/31/2018    074RT001189072      TOPDRIVE RENTAL                                                                Y          074RT         13.00    DAY                2,800.00      36,400.00
 10/21/2018            10/26/2018                                        TOPDRIVE RENTAL                                                                Y          074RT          6.00    DAY                2,800.00      16,800.00
 10/14/2018            10/20/2018                                        TOPDRIVE STANDBY                                                               Y          074RT          7.00    DAY                2,100.00      14,700.00
 10/27/2018            10/31/2018                                        TOPDRIVE STANDBY                                                               Y          074RT          5.00    DAY                2,100.00      10,500.00
                                                                                                                                                                                                 Ticket Total:             78,400.00
                                                                                                                                                                                                 Well Total :              99,406.00
                                                                                                                                                                                                Lease Total :              99,406.00
                                                                                                                                                                                                   SUBTOTAL:              99,406.00
                                                                                                                                                                                                    Taxes For


                                                                                                                                                      CITY OF ODESSA                                1.2500%                $1,242.58

                                                                                                                                                      ECTOR CO HOSPITAL DISTRICT                    0.7500%                  $745.55

                                                                                                                                                      STATE OF TEXAS                                6.2500%                $6,212.87



                                                                                                                                                                                        TOTAL AMOUNT DUE:                 107,607.00




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                                                                                                                                                                               Page :                    1
                                                                                                                                                                               Invoice No :              C074-10675
                                                                                                                                                                               Invoice Date :            05/21/2019
  Please Remit To :
                                                                                                                                                                               Customer Number :         942411
  Canrig Drilling Technology Ltd.
                                                                                                                                                                               Payment Terms :           Net30
  P.O. Box 206317
                                                                                                                                                                               AMOUNT DUE :              $232,495.03
  Dallas TX 75320-6317


                                                                       Customer :
                                                                                                                                                                               COUNTY :                  Winkler
                                                                       PERFORMANCE DRILLING CO LLC                                                                                                       Texas
                                                                                                                                                                               STATE :
                                                                       PO BOX 1748
                                                                                                                                                                               LEASE :                   OX #1HR
                                                                       BRANDON MS 39043
                                                                                                                                                                               WELL :                    PERFORM 28
                                                                                                                                                                                                         PO# 282699




                                                                       TERMS: Invoice payable Net 30 days from Invoice date. Past due Invoices subject to finance charges at
  For billing questions, please call      281-259-8887                 maximum rate from due date.


 From Date             To Date         Ticket Date   Ticket #            Description                                                  PO Line#        Tax       Equipment      Quantity UOM             Unit Amount       Net Amount

 11/03/2018            11/30/2018      11/30/2018    074RT001189134      POWERCAT RENTAL                                                                Y          074RT         28.00    DAY                    750.00     21,000.00
 11/01/2018            11/02/2018                                        POWERCAT STANDBY RATE                                                          Y          074RT          2.00    DAY                    563.00      1,126.00
                                                                                                                                                                                                 Ticket Total:              22,126.00
 11/03/2018            11/30/2018      11/30/2018    074RT001189135      TOPDRIVE RENTAL                                                                Y          074RT         28.00    DAY                2,800.00       78,400.00
 11/01/2018            11/02/2018                                        TOPDRIVE STANDBY                                                               Y          074RT          2.00    DAY                2,100.00        4,200.00
                                                                                                                                                                                                 Ticket Total:              82,600.00
 12/01/2018            12/31/2018      12/31/2018    074RT001189232      POWERCAT RENTAL                                                                Y          074RT         31.00    DAY                    750.00     23,250.00
 12/01/2018            12/31/2018                                        TOPDRIVE RENTAL                                                                Y          074RT         31.00    DAY                2,800.00       86,800.00
                                                                                                                                                                                                 Ticket Total:             110,050.00
                                                                                                                                                                                                 Well Total :              214,776.00
                                                                                                                                                                                                Lease Total :              214,776.00
                                                                                                                                                                                                   SUBTOTAL:              214,776.00
                                                                                                                                                                                                    Taxes For


                                                                                                                                                      CITY OF ODESSA                                1.2500%                $2,684.71

                                                                                                                                                      ECTOR CO HOSPITAL DISTRICT                    0.7500%                $1,610.83

                                                                                                                                                      STATE OF TEXAS                                6.2500%               $13,423.49



                                                                                                                                                                                        TOTAL AMOUNT DUE:                 232,495.03




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                                                                                      Canrig Drilling Technology Ltd.
                                                                                      14703 FM 1488
                                                                                      MAGNOLIA, TX 77354
                                                                                      USA
                                                                                      Telephone                          281-259-8887
                                                                                      Fax


      Invoice                                                                         Page                               1 of 1
                                                                                      Invoice number                     NDUS-P001854
      Bill to:                                                                        Date                            2/22/2019
      PERFORMANCE DRILLING CO LLC
                                                                                      Customer account                942411
      P. O. BOX 1748
      BRANDON, MS 39043                                                               Due date                           03/24/2019
      USA


      Project ID                                    Customer Reference / AFE Number                    Customer PO Number

       NDUS-000907                                                                                               282522


      Service order                                  Name / Description                                        Job number


      NDUS402349                                 14405 Performance 28 - Catwalk                                  00000
                                                         Remote Cable
      Area                       Rig number                Well number            Lease / OSCG                  Offshore
      074                        #28 PERFORMANCE           FURQUERON #1HD                                       No
                                 DRLG CO


      Item / Cat      Description                            Quantity     Unit     From          To                        Price           Amount

      3607            Service Call - Nabors SLA -            1.00                  12/9/2018     12/9/2018                  0.00                  0.00

                      CABLE,CONTROL,50M,RADIO
      C-E15039                                               1.00                                                    2,635.17               2,635.17
                      CONTROL UNIT,CAT -

      Tax authority name                                                                                                                Tax amount
      TEXAS, STATE OF                                                                                                                        164.70
      MIDLAND, COUNTY OF                                                                                                                          0.00
      MIDLAND, CITY OF                                                                                                                            0.00
      ODESSA, CITY OF                                                                                                                            32.94
      ECTOR COUNTY HOSPITAL DISTRICT                                                                                                             19.76


      Currency        Sales subtotal amount                    Net amount                         Sales tax                                      Total

      USD                             2,635.17                      2,635.17                          217.40                               2,852.57

                                                                          *** Two Thousand Eight Hundred Fifty Two and 57/100                    USD




                                                                                                      Remit to: Wells Fargo Bank, N.A.
                                                                                                                Acct: 4128815776
                                                                                                                ABA: 121000248
                                                                                                                Swift: WFBIUS6S
                                                                                                                Canrig Drilling Technology Ltd
                                                                                                                420 Montgomery Street
                                                                                                                San Francisco, CA 94104
                                                                                                                Lockbox Address:
                                                                                                                PO Box 206317
                                                                                                                Dallas, TX 75320-6317

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                                                                                    Canrig Drilling Technology Ltd.
                                                                                    14703 FM 1488
                                                                                    MAGNOLIA, TX 77354
                                                                                    USA
                                                                                    Telephone                         281-259-8887
                                                                                    Fax


      Pro forma invoice                                                             Page                              1 of 1
                                                                                    Invoice number
      Bill to:                                                                      Date                            5/15/2019
      PERFORMANCE DRILLING CO LLC
                                                                                    Customer account               942411
      P. O. BOX 1748
      BRANDON, MS 39043                                                             Due date                          06/14/2019
      USA


      Project ID                                    Customer Reference / AFE Number                  Customer PO Number

       NDUS-000907                                                                                            282697


      Service order                                  Name / Description                                     Job number


      NDUS409672                                 33031 - PERFORMANCE 28 CW/TD                                 00000
                                                           RENTAL APRIL
      Area                      Rig number                 Well number           Lease / OSCG                Offshore
      074                       #28 PERFORMANCE            KUDU #B 2H                                        No
                                DRLG CO


      Item / Cat      Description                           Quantity      Unit   From           To                      Price             Amount

                      PC3000 Operating Rate - OPERATING
      3504            DATES                             30.00                    4/1/2019       4/30/2019             750.00             22,500.00
                      4/1/19 - 4/30/19
                      1250AC 500-ton Operating Rate -
      3706            OPERATING DATES                       30.00                4/1/2019       4/30/2019          2,800.00              84,000.00
                      4/1/19 - 4/30/19

      Tax authority name                                                                                                              Tax amount


      Currency        Sales subtotal amount                   Net amount                        Sales tax                                       Total

      USD                           106,500.00                  106,500.00                       8,786.25                               115,286.25

                                                        *** One Hundred Fifteen Thousand Two Hundred Eighty Six and 25/100                       USD




                                                                                                     Remit to: Wells Fargo Bank, N.A.
                                                                                                               Acct: 4128815776
                                                                                                               ABA: 121000248
                                                                                                               Swift: WFBIUS6S
                                                                                                               Canrig Drilling Technology Ltd
                                                                                                               420 Montgomery Street
                                                                                                               San Francisco, CA 94104
                                                                                                               Lockbox Address:
                                                                                                               PO Box 206317
                                                                                                               Dallas, TX 75320-6317

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                                                                               CANRIG INVOICE

                                                                                                                                                                               Page :                    1
                                                                                                                                                                               Invoice No :              C074-10674
                                                                                                                                                                               Invoice Date :            05/21/2019
  Please Remit To :
                                                                                                                                                                               Customer Number :         942411
  Canrig Drilling Technology Ltd.
                                                                                                                                                                               Payment Terms :           Net30
  P.O. Box 206317
                                                                                                                                                                               AMOUNT DUE :              $102,806.12
  Dallas TX 75320-6317


                                                                       Customer :
                                                                                                                                                                               COUNTY :                  Winkler
                                                                       PERFORMANCE DRILLING CO LLC                                                                                                       Texas
                                                                                                                                                                               STATE :
                                                                       PO BOX 1748
                                                                                                                                                                               LEASE :                   KUDU A #2H
                                                                       BRANDON MS 39043
                                                                                                                                                                               WELL :                    PERFORM 28
                                                                                                                                                                                                         PO# 282698




                                                                       TERMS: Invoice payable Net 30 days from Invoice date. Past due Invoices subject to finance charges at
  For billing questions, please call      281-259-8887                 maximum rate from due date.


 From Date             To Date         Ticket Date   Ticket #            Description                                                  PO Line#        Tax       Equipment      Quantity UOM             Unit Amount       Net Amount

 01/01/2019            01/09/2019      01/31/2019    074RT001189473      POWERCAT RENTAL                                                                Y          074RT          9.00    DAY                    750.00     6,750.00
 01/27/2019            01/31/2019                                        POWERCAT RENTAL                                                                Y          074RT          5.00    DAY                    750.00     3,750.00
 01/10/2019            01/26/2019                                        POWERCAT STANDBY RATE                                                          Y          074RT         17.00    DAY                    563.00     9,571.00
 01/01/2019            01/09/2019                                        TOPDRIVE RENTAL                                                                Y          074RT          9.00    DAY                2,800.00      25,200.00
 01/27/2019            01/31/2019                                        TOPDRIVE RENTAL                                                                Y          074RT          5.00    DAY                2,800.00      14,000.00
 01/10/2019            01/26/2019                                        TOPDRIVE STANDBY                                                               Y          074RT         17.00    DAY                2,100.00      35,700.00
                                                                                                                                                                                                 Ticket Total:             94,971.00
                                                                                                                                                                                                 Well Total :              94,971.00
                                                                                                                                                                                                Lease Total :              94,971.00
                                                                                                                                                                                                   SUBTOTAL:              94,971.00
                                                                                                                                                                                                    Taxes For


                                                                                                                                                      CITY OF ODESSA                                1.2500%                $1,187.15

                                                                                                                                                      ECTOR CO HOSPITAL DISTRICT                    0.7500%                  $712.29

                                                                                                                                                      STATE OF TEXAS                                6.2500%                $5,935.68



                                                                                                                                                                                        TOTAL AMOUNT DUE:                 102,806.12




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                                                                               CANRIG INVOICE

                                                                                                                                                                               Page :                    1
                                                                                                                                                                               Invoice No :              C074-10680
                                                                                                                                                                               Invoice Date :            05/21/2019
  Please Remit To :
                                                                                                                                                                               Customer Number :         942411
  Canrig Drilling Technology Ltd.
                                                                                                                                                                               Payment Terms :           Net30
  P.O. Box 206317
                                                                                                                                                                               AMOUNT DUE :              $107,600.50
  Dallas TX 75320-6317


                                                                       Customer :
                                                                                                                                                                               COUNTY :                  Winkler
                                                                       PERFORMANCE DRILLING CO LLC                                                                                                       Texas
                                                                                                                                                                               STATE :
                                                                       PO BOX 1748
                                                                                                                                                                               LEASE :                   KUDU A #2H
                                                                       BRANDON MS 39043
                                                                                                                                                                               WELL :                    PERFORM 28
                                                                                                                                                                                                         PO# 282700




                                                                       TERMS: Invoice payable Net 30 days from Invoice date. Past due Invoices subject to finance charges at
  For billing questions, please call      281-259-8887                 maximum rate from due date.


 From Date             To Date         Ticket Date   Ticket #            Description                                                  PO Line#        Tax       Equipment      Quantity UOM             Unit Amount       Net Amount

 02/01/2019            02/28/2019      02/28/2019    074RT001189531      POWERCAT RENTAL                                                                Y          074RT         28.00    DAY                    750.00    21,000.00
 02/01/2019            02/28/2019                                        TOPDRIVE RENTAL                                                                Y          074RT         28.00    DAY                2,800.00      78,400.00
                                                                                                                                                                                                 Ticket Total:             99,400.00
                                                                                                                                                                                                 Well Total :              99,400.00
                                                                                                                                                                                                Lease Total :              99,400.00
                                                                                                                                                                                                   SUBTOTAL:              99,400.00
                                                                                                                                                                                                    Taxes For


                                                                                                                                                      CITY OF ODESSA                                1.2500%                $1,242.50

                                                                                                                                                      ECTOR CO HOSPITAL DISTRICT                    0.7500%                  $745.50

                                                                                                                                                      STATE OF TEXAS                                6.2500%                $6,212.50



                                                                                                                                                                                        TOTAL AMOUNT DUE:                 107,600.50




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                                                                                  Canrig Drilling Technology Ltd.
                                                                                  14703 FM 1488
                                                                                  MAGNOLIA, TX 77354
                                                                                  USA
                                                                                  Telephone                         281-259-8887
                                                                                  Fax


      Invoice                                                                     Page                              1 of 2
                                                                                  Invoice number                    NDUS-P002777
      Bill to:                                                                    Date                           5/15/2019
      PERFORMANCE DRILLING CO LLC
                                                                                  Customer account               942411
      P. O. BOX 1748
      BRANDON, MS 39043                                                           Due date                          06/14/2019
      USA


      Project ID                                 Customer Reference / AFE Number                   Customer PO Number

       NDUS-000907                                                                                          282696


      Service order                               Name / Description                                      Job number


      NDUS409670                               30206 PERFORMANCE CW/TD                                      00000
                                                  RENTAL TICKET MARCH
      Area                      Rig number                Well number          Lease / OSCG                Offshore
      074                       #28 PERFORMANCE           KUDU A #2H                                       No
                                DRLG CO


      Item / Cat      Description                          Quantity     Unit   From           To                      Price             Amount

                      PC3000 Catwalk Stand-by Rate -
      3502            Standby dates                        4.00                3/20/2019      3/23/2019             563.00               2,252.00
                      3/20/19 - 3/23/19
                      PC3000 Operating Rate - Operating
                      Dates
      3504                                                 27.00               3/1/2019       3/31/2019             750.00             20,250.00
                      3/1/19 - 3/19/19
                      3/24/19 - 3/31/19
                      1250AC 500-ton Operating Rate -
                      Operating Dates
      3706                                                 27.00               3/1/2019       3/31/2019          2,800.00              75,600.00
                      3/1/19 - 3/19/19
                      3/24/19 - 3/31/19
                      1250AC 500-ton Top Drive Stand-by
      3708            Rate - STANDBY DATES                 4.00                3/20/2019      3/23/2019          2,100.00                8,400.00
                      3/20/19 - 3/23/19

      Tax authority name                                                                                                            Tax amount
      TEXAS, STATE OF                                                                                                                    6,656.38
      WINKLER, COUNTY OF                                                                                                                  532.51
      KERMIT, CITY OF                                                                                                                    1,065.02
      WINKLER COUNTY HEALTH SERVICES                                                                                                      532.51




                                                                                                   Remit to: Wells Fargo Bank, N.A.
                                                                                                             Acct: 4128815776
                                                                                                             ABA: 121000248
                                                                                                             Swift: WFBIUS6S
                                                                                                             Canrig Drilling Technology Ltd
                                                                                                             420 Montgomery Street
                                                                                                             San Francisco, CA 94104
                                                                                                             Lockbox Address:
                                                                                                             PO Box 206317
                                                                                                             Dallas, TX 75320-6317

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      Currency    Sales subtotal amount           Net amount                      Sales tax                                     Total

      USD                    106,502.00             106,502.00                     8,786.42                             115,288.42

                                          *** One Hundred Fifteen Thousand Two Hundred Eighty Eight and 42/100                  USD




                                                                                     Remit to: Wells Fargo Bank, N.A.
                                                                                               Acct: 4128815776
                                                                                               ABA: 121000248
                                                                                               Swift: WFBIUS6S
                                                                                               Canrig Drilling Technology Ltd
                                                                                               420 Montgomery Street
                                                                                               San Francisco, CA 94104
                                                                                               Lockbox Address:
                                                                                               PO Box 206317
                                                                                               Dallas, TX 75320-6317

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                                                                                    Canrig Drilling Technology Ltd.
                                                                                    14703 FM 1488
                                                                                    MAGNOLIA, TX 77354
                                                                                    USA
                                                                                    Telephone                         281-259-8887
                                                                                    Fax


      Invoice                                                                       Page                              1 of 1
                                                                                    Invoice number                    NDUS-P002778
      Bill to:                                                                      Date                           5/15/2019
      PERFORMANCE DRILLING CO LLC
                                                                                    Customer account               942411
      P. O. BOX 1748
      BRANDON, MS 39043                                                             Due date                          06/14/2019
      USA


      Project ID                                    Customer Reference / AFE Number                  Customer PO Number

       NDUS-000907                                                                                            282697


      Service order                                  Name / Description                                     Job number


      NDUS409672                                 33031 - PERFORMANCE 28 CW/TD                                 00000
                                                           RENTAL APRIL
      Area                      Rig number                 Well number           Lease / OSCG                Offshore
      074                       #28 PERFORMANCE            KUDU #B 2H                                        No
                                DRLG CO


      Item / Cat      Description                           Quantity      Unit   From           To                      Price             Amount

                      PC3000 Operating Rate - OPERATING
      3504            DATES                             30.00                    4/1/2019       4/30/2019             750.00             22,500.00
                      4/1/19 - 4/30/19
                      1250AC 500-ton Operating Rate -
      3706            OPERATING DATES                       30.00                4/1/2019       4/30/2019          2,800.00              84,000.00
                      4/1/19 - 4/30/19

      Tax authority name                                                                                                              Tax amount
      TEXAS, STATE OF                                                                                                                      6,656.25
      WINKLER, COUNTY OF                                                                                                                    532.50
      KERMIT, CITY OF                                                                                                                      1,065.00
      WINKLER COUNTY HEALTH SERVICES                                                                                                        532.50


      Currency        Sales subtotal amount                   Net amount                        Sales tax                                       Total

      USD                           106,500.00                  106,500.00                       8,786.25                               115,286.25

                                                        *** One Hundred Fifteen Thousand Two Hundred Eighty Six and 25/100                      USD




                                                                                                     Remit to: Wells Fargo Bank, N.A.
                                                                                                               Acct: 4128815776
                                                                                                               ABA: 121000248
                                                                                                               Swift: WFBIUS6S
                                                                                                               Canrig Drilling Technology Ltd
                                                                                                               420 Montgomery Street
                                                                                                               San Francisco, CA 94104
                                                                                                               Lockbox Address:
                                                                                                               PO Box 206317
                                                                                                               Dallas, TX 75320-6317

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                                                                                             Canrig Drilling Technology Ltd.
                                                                                             515 West Greens Road
                                                                                             Houston, TX 77067
                                                                                             USA
                                                                                             Telephone........................: 713­849­5900
                                                                                             Fax...................................: 713­849­0075
                                                                                             Giro ..................................:
                                                                                             Tax exempt number .........:
                                                                                             Taxpayer ID .....................: 73­0329270


         PERFORMANCE DRILLING CO LLC
         P O Box 1748                                      Invoice
         Brandon, MS 39043                                 Number ............................: 226291
         USA                                               Date .................................: 4/12/2018
                                                           Page ................................: 1      of 1
                                                           Sales order ......................: 215687
                                                           Customer account............: 300693
         Ship to: 2741 Faudree Rd                          Customer reference .........:
                  Apartment 9108                           Purchase order ................: 144350
                  Odessa, TX 79765                         Customer contact.............: Brian Southall
                  USA                                      Salesperson.....................: 200036
                                                           Invoice account................: 300693
         Shipping method: MF


                                                                                            Disc.     Discount
  Item               Description                    Quantity          Unit     Unit price      %        amount              Amount
  0633               Seal,6.500"Shaftx7.500"ODx0.      1.00            EA          47.78 9.00                                  43.48
                     500"W,CRWH1
  4044               O­Ring,N70­272,9.484"IDx0.13      1.00            EA            5.70 28.00                                 4.10
                     9"Dia
  0592               O­Ring,N90­265,7.734"IDx0.13      1.00            EA            4.97 28.00                                 3.58
                     9"Dia
  Misc               Freight                                                                                                  52.70
                     Tax authority name                                                                                  Tax amount

  Tax                HOUSTON METROPOLITAN TRANSIT AUTHORITY                                                                     1.04
  Tax                HOUSTON, CITY OF                                                                                           1.04
  Tax                TEXAS, STATE OF                                                                                            6.49




          Subtotal   Add'l discount Misc. Charges                        Sales tax                               Total
            51.16              0.00         52.70                             8.57                              112.43    USD
                                               One Hundred Twelve and 43/100 US Dollar

  Payment terms            5/12/2018

                                                                                                    Remit To: Wells Fargo Bank, N.A.
                                                                                                              Acct: 4128815776
                                                                                                              ABA: 121000248
                                                                                                              Swift: WFBIUS6S
                                                                                                              Canrig Drilling Technology Ltd
                                                                                                              420 Montgomery Street
                                                                                                              San Francisco, CA 94104
                                                                                                              Lockbox Address:
                                                                                                              PO Box 206317
                                                                                                              Dallas, TX 75320­6317




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                                                                                                                         Canrig Drilling Technology Ltd.
                                                                                                                         515 West Greens Road
                                                                                                                         Houston, TX 77067
                                                                                                                         USA
                                                                                                                         Telephone........................: 713­849­5900
                                                                                                                         Fax...................................: 713­849­0075
                                                                                                                         Giro..................................:
                                                                                                                         Tax exempt number.........:


       Account number: 300693
       FAUDREE RANCH APARTMENTS                          Order confirmation
       2741 Faudree Rd                                   Number............................: 215687­1
       Apartment 9108                                    Date .................................: 3/28/2018
       Odessa, TX 79765                                  Page ................................: 1      of 1
       USA                                               Sales order ......................: 215687
                                                         Customer PO#.................: 144350
       Bill to:                                          INCO Term ......................: CPT
       PERFORMANCE DRILLING CO LLC                       Named Place ...................: Houston
       P O Box 1748                                      Customer reference.........:
       Brandon, MS 39043                                 Our ref. ............................: Carias Carlos M
       USA                                               Payment ..........................: Net 30 Days




                                          Requested                                                        Disc.     Discount
      Item         Description              ship date        Quantity Unit                  Unit price        %       amount                Amount


1     0633         Seal,6.500"Shaftx7.     3/28/2018              1.00 EA                        47.78      9.00                               43.48
                   500"ODx0.500"W,C
                   RWH1
2     4044         O­Ring,N70­272,9.4      3/28/2018              1.00 EA                         5.70 28.00                                    4.10
                   84"IDx0.139"Dia

3     0592         O­Ring,N90­265,7.7      3/28/2018              1.00 EA                         4.97 28.00                                    3.58
                   34"IDx0.139"Dia




        Subtotal     Add'l discount      Misc. Charges    Sales tax              Round­off                                                   Total
          51.16                0.00               0.00         4.22                  0.00                                                    55.38 USD




       Thank you for this opportunity to quote                                                           Certified True & Correct
       ________________________________                                                                  ________________________________
       Carias Carlos M
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                                                                                                     Canrig Drilling Technology Ltd.
                                                                                                     515 West Greens Road
                                                                                                     Houston, TX 77067
                                                                                                     USA
                                                                                                     Telephone........................: 713­849­5900
                                                                                                     Fax...................................: 713­849­0075
                                                                                                     Giro ..................................:
                                                                                                     Tax exempt number .........:
                                                                                                     Taxpayer ID .....................: 73­0329270


        PERFORMANCE DRILLING CO LLC
        P O Box 1748                                            Invoice
        Brandon, MS 39043                                       Number ............................: 227360
        USA                                                     Date .................................: 7/24/2018
                                                                Page ................................: 1      of 1
                                                                Sales order ......................: 216396
                                                                Customer account............: 300693
        Ship to: 4805 BRIARWOOD AVE                             Customer reference .........: Jeff Shumaker
                 APARTMENT J 107                                Purchase order ................: 144645
                 Midland, TX 79707                              Customer contact.............: Brian Southall
                 USA                                            Salesperson.....................: 200036
                                                                Invoice account................: 300693
        Shipping method: MF


                                                                                                Disc.     Discount
 Item                Description                         Quantity          Unit    Unit price      %        amount               Amount
 721254              Motor,Hydraulic,0.67 cu                1.00            EA        509.51 9.00                                 463.65
                     in/Rev,Cooler,Oil/Air
 Misc                Freight                                                                                                       17.80
                     Tax authority name                                                                                       Tax amount

 Tax                 HOUSTON METROPOLITAN TRANSIT AUTHORITY                                                                         4.82
 Tax                 HOUSTON, CITY OF                                                                                               4.82
 Tax                 TEXAS, STATE OF                                                                                               30.09




          Subtotal   Add'l discount Misc. Charges                             Sales tax                               Total
           463.65              0.00         17.80                                39.73                               521.18    USD
                                               Five Hundred Twenty One and 18/100 US Dollar

 Payment terms             8/23/2018

                                                                                                           Remit To: Wells Fargo Bank, N.A.
                                                                                                                     Acct: 4128815776
                                                                                                                     ABA: 121000248
                                                                                                                     Swift: WFBIUS6S
                                                                                                                     Canrig Drilling Technology Ltd
                                                                                                                     420 Montgomery Street
                                                                                                                     San Francisco, CA 94104
                                                                                                                     Lockbox Address:
                                                                                                                     PO Box 206317
                                                                                                                     Dallas, TX 75320­6317




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                                                                                                                          Canrig Drilling Technology Ltd.
                                                                                                                          515 West Greens Road
                                                                                                                          Houston, TX 77067
                                                                                                                          USA
                                                                                                                          Telephone........................: 713­849­5900
                                                                                                                          Fax...................................: 713­849­0075
                                                                                                                          Giro..................................:
                                                                                                                          Tax exempt number.........:


       Account number: 300693
       PERFORMANCE DRILLING CO LLC                        Order confirmation
       4805 BRIARWOOD AVE                                 Number............................: 216396­1
       APARTMENT J 107                                    Date .................................: 7/13/2018
       Midland, TX 79707                                  Page ................................: 1      of 1
       USA                                                Sales order ......................: 216396
                                                          Customer PO#.................: 144645
       Bill to:                                           INCO Term ......................: CPT
       PERFORMANCE DRILLING CO LLC                        Named Place ...................: Houston
       P O Box 1748                                       Customer reference.........: Jeff Shumaker
       Brandon, MS 39043                                  Our ref. ............................: Carias Carlos M
       USA                                                Payment ..........................: Net 30 Days




                                           Requested                                                        Disc.     Discount
      Item         Description               ship date        Quantity Unit                  Unit price        %       amount                Amount


1     721254       Motor,Hydraulic,0.6      7/13/2018              1.00 EA                      509.51       9.00                             463.65
                   7 cu
                   in/Rev,Cooler,Oil/Ai
                   r




        Subtotal     Add'l discount       Misc. Charges    Sales tax              Round­off                                                  Total
         463.65                0.00                0.00        38.26                  0.00                                                  501.91 USD




       Thank you for this opportunity to quote                                                            Certified True & Correct
       ________________________________                                                                   ________________________________
       Carias Carlos M
                                             EXHIBIT "B" - Page 55 of 97
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      Carias, Carlos

      From:                                        Jeffrey Shumaker <jshumaker@perfdrill.com>
      Sent:                                        Friday, July 13, 2018 1:48 PM
      To:                                          Carias, Carlos
      Subject:                                     [EXT]RE: Performance Qte. 157885, $463.65
      Attachments:                                 image001.png

      Follow Up Flag:                              Flag for follow up
      Flag Status:                                 Flagged


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      ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐

      PO 144645
      ADRESS
      4805 BRIARWOOD AVE APARTMENT J 107
      MIDLAND TX 79707
      ________________________________________
      From: Carias, Carlos [Carlos.Carias@canrig.com]
      Sent: Thursday, July 12, 2018 4:36 PM
      To: Jeffrey Shumaker
      Subject: Performance Qte. 157885, $463.65

      Jeff,

      Attached is the quote for the motor you need. I will know by the morning if your account is current or not.

      Thanks,

      Carlos Carias
      Inside Sales Rep.
      Canrig Drilling Technology LTD.
      14703 FM 1488
      Magnolia, TX, 77354
      Direct 281.259.3213 | Mobile 832.472.7683 | RIGLINE 24/7: 1.866.433.4345
      carlos.carias@canrig.com<mailto:carlos.carias@canrig.com> | www.canrig.com<http://www.canrig.com/> |
      part.sales@canrig.com<mailto:part.sales@canrig.com>
      [cid:image001.png@01D419FE.79B0BB40]


      *******************************
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                                                                                    Canrig Drilling Technology Ltd.
                                                                                    14703 FM 1488
                                                                                    MAGNOLIA, TX 77354
                                                                                    USA


                                                                                    Telephone                         281-259-8887
                                                                                    Fax
      Invoice                                                                       Page                             1 of 1
      Bill to:                                                                      Number                           NDUS-S000037
      PERFORMANCE DRILLING CO LLC
                                                                                    Date                             August 29, 2018
      3816 Kermit Hwy                                                               Sales order                      216488
      Attn: Performance Drilling
      ODESSA, 79764                                                                 Customer account                 942411
      USA
                                                                                    Due date                         September 28, 2018
      Ship to:
      Oilfield Industrial Supply
      3816 Kermit Hwy
      Attn: Performance Drilling
      ODESSA, TX 79764
      USA



     Sales order      Customer Ref       Customer Req Item         Description                  Quantity       Unit           Unit price             Amount
     216488           Terry              144689       number

                                                     1090122       Pump,Hydraulic,PC,2.0cid/
                                                                   rev,SAE B Mount,c/w SAE         1.00         EA             2,737.26               2,737.26
                                                                   A
                                                     1090123       Pump,Hydraulic,Vane,0.8ci
                                                                                                   1.00         EA             782.91                  782.91
                                                                   d/rev,SAE A Mount
                                                     16268         VALVE,DIR.3F,P
                                                                                                   1.00         EA             158.66                  158.66
                                                                   BLKED,A&B -TANK


      Freight                 Other Freight                                                                                                  33.96

     Tax authority name                                                                                                                        Tax amount

     TEXAS, STATE OF                                                                                                                                   232.05


     MONTGOMERY COUNTY EMERGENCY SERVICES DISTRICT 10                                                                                                    29.30


     ODESSA, CITY OF                                                                                                                                      9.79


     ECTOR COUNTY HOSPITAL DISTRICT                                                                                                                       5.87



     Currency        Sales subtotal amount                Charges                Net amount                Sales tax                       Invoice amount

     USD                             3,678.83                  33.96                3,712.79                  277.01                                 3,989.80

                                                                          *** Three Thousand Nine Hundred Eighty Nine and 80/100             USD




                                                                                               Remit to: Wells Fargo Bank, N.A.
                                                                                                         Acct: 4128815776
                                                                                                         ABA: 121000248
                                                                                                         Swift: WFBIUS6S
                                                                                                         Canrig Drilling Technology Ltd
                                                                                                         420 Montgomery Street
                                                                                                         San Francisco, CA 94104
                                                                                                         Lockbox Address:
                                                                                                         PO Box 206317
                                                                                                         Dallas, TX 75320-6317

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                                                                                  Canrig Drilling Technology Ltd.
                                                                                  14703 FM 1488
                                                                                  MAGNOLIA, TX 77354
                                                                                  USA


                                                                                  Telephone                         281-259-8887
                                                                                  Fax
      Invoice                                                                     Page                             1 of 1
      Bill to:                                                                    Number                           NDUS-S000055
      PERFORMANCE DRILLING CO LLC
                                                                                  Date                             August 30, 2018
      3816 Kermit Hwy                                                             Sales order                      300001
      Attn: Performance Drilling
      ODESSA, 79764                                                               Customer account                 942411
      USA
                                                                                  Due date                         September 29, 2018
      Ship to:
      Performance
      Attn; Performance Drilling
      3816 Kermit Hwy
      ODESSA, TEXAS 79764
      USA



     Sales order     Customer Ref      Customer Req Item         Description                  Quantity       Unit           Unit price             Amount
     300001          Terry Morace      144696       number

                                                   5317          Hose,Hyd,100R2-
                                                                                                 2.00         EA             499.14                  998.29
                                                                 AT,#12x75-ft,FJICxFJIC
                                                   4382          Hose,Hyd,100R2-
                                                                                                 1.00         EA             692.66                  692.66
                                                                 AT,#16x75-ft,FJICxFJIC
                                                   720623        Hose,Hyd,100R13,#32x75-
                                                                                                 1.00         EA             4,014.13               4,014.13
                                                                 ft,FLGxFLG,C62(O-Ring)


      Truck                 Truck Freight                                                                                                 857.56

     Tax authority name                                                                                                                      Tax amount

     TEXAS, STATE OF                                                                                                                                 356.56


     HOUSTON METROPOLITAN TRANSIT AUTHORITY                                                                                                            57.05


     HOUSTON, CITY OF                                                                                                                                  57.05



     Currency       Sales subtotal amount                 Charges              Net amount                Sales tax                       Invoice amount

     USD                            5,705.08                857.56                6,562.64                  470.66                                 7,033.30

                                                                                        *** Seven Thousand Thirty Three and 30/100         USD




                                                                                             Remit to: Wells Fargo Bank, N.A.
                                                                                                       Acct: 4128815776
                                                                                                       ABA: 121000248
                                                                                                       Swift: WFBIUS6S
                                                                                                       Canrig Drilling Technology Ltd
                                                                                                       420 Montgomery Street
                                                                                                       San Francisco, CA 94104
                                                                                                       Lockbox Address:
                                                                                                       PO Box 206317
                                                                                                       Dallas, TX 75320-6317

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                                                                                  Canrig Drilling Technology Ltd.                  Telephone
                                                                                  515 West Greens Road                             281.874.0035
                                                                                  HOUSTON, TX 77067
                                                                                                                                   Fax
                                                                                  USA




                                                                                          Sales Order Confirmation
     Account number            942411
                                                                                          Sales order                         300001
     Ship to:
                                                                                          Page                                1 of 1
     Oilfield Industrial Supply
                                                                                          Number                              300001-1
     3816 Kermit Hwy
                                                                                          Date Printed                        8/8/2018
     Attn: Performance Drilling
                                                                                          Customer PO                         144696
     ODESSA, 79764
     USA                                                                                  Mode of delivery                    MF
                                                                                          INCO Terms                          CPT
     Bill to:
                                                                                          Named place                         Houston


     Customer Contact                                                                     Your ref.                           Terry Morace
                                                                                          Our ref.
                                                                                          Payment terms                       30 NET
                                                                                          Sales Contact
                                                                                          Phone

     Phone



     Line                                                         Requested                                                             Discount
     num Item              Description                            ship date        Quantity Unit          Unit price     Discount        percent   Amount
     1          5317       Hose,Hyd,100R2-AT,#12x75-              9/25/2018              2.00 EA             548.51            0.00       9.00 %    998.29
                           ft,FJICxFJIC
     2          4382       Hose,Hyd,100R2-AT,#16x75-              9/17/2018              1.00 EA             761.17            0.00       9.00 %    692.66
                           ft,FJICxFJIC
     3          720623     Hose,Hyd,100R13,#32x75-                9/10/2018              1.00 EA            4,411.13           0.00       9.00 %   4,014.13
                           ft,FLGxFLG,C62(O-Ring)
     4          5051982    Tarp,ServiceLoop,75'x30",1200Den,PVC   9/11/2018              1.00 EA            1,470.89           0.00       9.00 %   1,338.51
                           Coated,c/wStraps/B




     Currency             Subtotal Add'l discount      Misc. charges   Net amount            Sales tax        Round-off                  Total
     USD                   7,043.59             0.00            0.00          7,043.59         510.66                  0.00           7,554.25




         Thank you for this opportunity to serve you                                               Certified true and correct




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      Carias, Carlos

      From:                                        Terry Morace <tmorace@perfdrill.com>
      Sent:                                        Tuesday, July 31, 2018 2:57 PM
      To:                                          Carias, Carlos
      Subject:                                     [EXT]RE: Performance Qte. 158042, $7,043.59
      Attachments:                                 image001.png

      Follow Up Flag:                              Flag for follow up
      Flag Status:                                 Flagged


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      I WOULD LIKE TO GET ALL OF THIS ON QUOTE MR CARLOS P.O#144696 ________________________________________
      From: Carias, Carlos [Carlos.Carias@canrig.com]
      Sent: Tuesday, July 31, 2018 8:31 AM
      To: Terry Morace
      Subject: RE: Performance Qte. 158042, $7,043.59

      Attached is the quote with the hose sock.

      Thanks,

      Carlos Carias
      Inside Sales Rep.
      Canrig Drilling Technology LTD.
      14703 FM 1488
      Magnolia, TX, 77354
      Direct 281.259.3213 | Mobile 832.472.7683 | RIGLINE 24/7: 1.866.433.4345
      carlos.carias@canrig.com<mailto:carlos.carias@canrig.com> | www.canrig.com<http://www.canrig.com/> |
      part.sales@canrig.com<mailto:part.sales@canrig.com>
      [cid:image001.png@01D428A8.C1803A50]

      From: Carias, Carlos
      Sent: Monday, July 30, 2018 4:15 PM
      To: tmorace@perfdrill.com
      Subject: Performance Qte. 158042, $5,705.08

      Attached is the quote for the hoses. I have lines 1 and 3 in stock. I will have to order line 2.

      Please provide a PO and ship to address if you decide to proceed.

      Thanks,

      Carlos Carias

                                                                                       1

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      Inside Sales Rep.
      Canrig Drilling Technology LTD.
      14703 FM 1488
      Magnolia, TX, 77354
      Direct 281.259.3213 | Mobile 832.472.7683 | RIGLINE 24/7: 1.866.433.4345
      carlos.carias@canrig.com<mailto:carlos.carias@canrig.com> | www.canrig.com<http://www.canrig.com/> |
      part.sales@canrig.com<mailto:part.sales@canrig.com>
      [cid:image001.png@01D428A8.C1803A50]

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                                                                   2

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                                                                              Quotation
                                                                              Number....................: 158042­2
                                                                              Date .........................: 7/31/2018
                                                                              Page ........................: 1 of 1
                                                                              Sales order ..............:
    Canrig Drilling Technology Ltd.                                           Requisition...............:
    515 West Greens Road                                                      Delivery terms..........: CPT
    Houston, TX 77067                                                         Your ref....................: Terry
    USA                                                                       Our ref. ....................: Carias Carlos M
    Telephone.................: 713­849­5900                                  FSA Reference Id ....:
    Fax............................: 713­849­0075                             Quotation deadline ..: 8/14/2018
    Giro...........................:                                          Payment ..................: Net 30 Days
    Tax exempt number..:                                                      Shipping method......: MF

    Order account
    300693
    PERFORMANCE DRILLING CO LLC
    Delivery
    PERFORMANCE DRILLING CO LLC
    Big Spring, TX 79720
    USA




       Status




         Item             Description               Requested Quantity Unit           Unit price Disc.       Discount          Amount
                                                    ship date                                       %          amount


   1     5317             Hose,Hyd,100R2­AT,#1      7/30/2018     2.00 EA                548.51    9.00                         998.29
                          2x75­ft,FJICxFJIC
   2     4382             Hose,Hyd,100R2­AT,#1      9/17/2018     1.00 EA                761.17    9.00                         692.66
                          6x75­ft,FJICxFJIC
   3     720623           Hose,Hyd,100R13,#32x      7/30/2018     1.00 EA              4,411.13    9.00                        4,014.13
                          75­ft,FLGxFLG,C62(O­R
                          ing)
   4     5051982          Tarp,Service Loop,75' x   9/3/2018      1.00 EA              1,470.89    9.00                        1,338.51
                          30",1200 Den,PVC
                          Coated,c/w
                          Straps/Buckles/Gromme
                          ts




                          Subtotal                      Add'l       Misc.              Sales tax                                  Total
                                                     discount     Charges
                          7,043.59                       0.00        0.00                581.10                                7,624.69 USD



   ***Prices do not include Sales Taxes***

   Thank you for this opportunity to quote                                                             Certified True & Correct

   ________________________________                                                                    ________________________________
   Carias Carlos M
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                                                                                  Canrig Drilling Technology Ltd.
                                                                                  14703 FM 1488
                                                                                  MAGNOLIA, TX 77354
                                                                                  USA


                                                                                  Telephone                         281-259-8887
                                                                                  Fax
      Invoice                                                                     Page                             1 of 1
      Bill to:                                                                    Number                           NDUS-S000079
      PERFORMANCE DRILLING CO LLC
                                                                                  Date                             September 11, 2018
      3816 Kermit Hwy                                                             Sales order                      300150
      Attn: Performance Drilling
      ODESSA, 79764                                                               Customer account                 942411
      USA
                                                                                  Due date                         October 11, 2018
      Ship to:
      Performance
      Attn; Performance Drilling
      3816 Kermit Hwy
      ODESSA, TEXAS 79764
      USA



     Sales order     Customer Ref      Customer Req Item         Description                  Quantity       Unit           Unit price             Amount
     300150          Terry Morace      144769       number

                                                   0633          Seal,6.500"Shaftx7.500"O
                                                                                                4.00          EA              43.80                  175.19
                                                                 Dx0.500"W,CRWH1
                                                   820067        Shield,Mud,Gearbox,HXI/T
                                                                                                1.00          EA              52.35                    52.35
                                                                 100
                                                   1100097       Shim,Retainer,Bearing,Up
                                                                                                3.00          EA              52.86                  158.58
                                                                 per,Quill,0.010"Thk
                                                   1100098       Shim,Retainer,Bearing,Up
                                                                                                3.00          EA              62.12                  186.36
                                                                 per,Quill,0.005"Thk
                                                   1100099       Shim,Retainer,Bearing,Up
                                                                                                3.00          EA              57.38                  172.15
                                                                 per,Quill,0.002"Thk
                                                   340167        O-Ring,N70-
                                                                                                1.00          EA               9.11                     9.11
                                                                 378,10.475"IDx0.210"Dia


      Freight               Other Freight                                                                                                 215.21

     Tax authority name                                                                                                                      Tax amount

     TEXAS, STATE OF                                                                                                                                   60.56


     HOUSTON METROPOLITAN TRANSIT AUTHORITY                                                                                                             9.68


     HOUSTON, CITY OF                                                                                                                                   9.68



     Currency       Sales subtotal amount                 Charges              Net amount                Sales tax                       Invoice amount

     USD                             753.74                 215.21                 968.95                   79.92                                  1,048.87

                                                                                         *** One Thousand Forty Eight and 87/100           USD


                                                                                            Remit to: Wells Fargo Bank, N.A.
                                                                                                      Acct: 4128815776
                                                                                                      ABA: 121000248
                                                                                                      Swift: WFBIUS6S
                                                                                                      Canrig Drilling Technology Ltd
                                                                                                      420 Montgomery Street
                                                                                                      San Francisco, CA 94104
                                                                                                      Lockbox Address:
                                                                                                      PO Box 206317
                                                                                                      Dallas, TX 75320-6317

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                                                                                                                         Invoice
                                                                          D&B - 00-790-7603
                                                                          Tax ID - XX-XXXXXXX


                                                                                                 Remit To: Canrig Drilling Technology Ltd.
                                                                                                                   P.O. Box 206317
   Sold To:           PERFORMANCE DRILLING CO LLC                                                              Dallas, Texas 75320-6317
                      P.O. BOX 1748                                                                         Office (281) 259-3100 Fax (281) 259-3194

                      BRANDON, MS 39043                                                                       Invoice No:       INV300920
                      USA                                                                                    Invoice Date:      9/17/2018
                                                                                                          Sales Order No:       M074-07184
                                                                                                                   Rig No.      28
   Ship To:           OILFIELD INDUSTRIAL SUPPLY                                                                  S/N No.       WH SPARE
                      3816 KERMIT HIGHWAY                                                                         P.O. No:      282384
                      ODESSA, TX 79764                                                                       Customer No:       942411
                                                                                                          Payment Terms:        NET 30 DAYS
                                                                                                             Shipped VIA:       PU-PICK-UP / WILL CALL
   Ship Date: 9/14/2018                                                                                     Freight Terms:      Freight: Billed
                                                                                                                     FOB:       EX WORKS MAGNOLIA
   EMAIL                                                                                                    Ordered Date:       8/27/2018
                                                                                                            Sales Contact:
   Interest charged on overdue accounts at 1.5% per month:
   Line       Quantity Quantity Quantity                     Units   Description                                   Net Unit Price Net Extended Price
   No.        Ordered Shipped     B/O                                Part ID or Work Order ID
   1                   3.00          3.00           0.00 EA          FILTER ELEMENT, 10 MICRON                    T          107.81                    $323.43
                                                                     H10212
   2                                                0.00             ECTOR                                        T           (0.00)                     $2.43
   3                                                0.00             MONTGOMERY CNTY                              T           (0.00)                     $3.23
   4                                                0.00             TX                                           T           (0.00)                    $20.21

                                                                                                                      SUB TOTAL                        $349.30
                                                                                                 INVOICE TOTAL IN US FUNDS                             $349.30




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                                                                                                                         Invoice
                                                                          D&B - 00-790-7603
                                                                          Tax ID - XX-XXXXXXX


                                                                                                 Remit To: Canrig Drilling Technology Ltd.
                                                                                                                   P.O. Box 206317
   Sold To:           PERFORMANCE DRILLING CO LLC                                                              Dallas, Texas 75320-6317
                      P.O. BOX 1748                                                                         Office (281) 259-3100 Fax (281) 259-3194

                      BRANDON, MS 39043                                                                       Invoice No:       INV300944
                      USA                                                                                    Invoice Date:      9/17/2018
                                                                                                          Sales Order No:       M074-07368
                                                                                                                   Rig No.      28
   Ship To:           TO RIG LOCATION                                                                             S/N No.       WHSE
                      ODESSA, TX                                                                                  P.O. No:      282407GB
                                                                                                             Customer No:       942411
                                                                                                          Payment Terms:        NET 30 DAYS
                                                                                                             Shipped VIA:       PICK-UP / WILL CALL
   Ship Date: 9/14/2018                                                                                     Freight Terms:      Freight: Billed
                                                                                                                     FOB:       FOB ODESSA
   EMAIL                                                                                                    Ordered Date:       9/14/2018
                                                                                                            Sales Contact:
   Interest charged on overdue accounts at 1.5% per month:
   Line       Quantity Quantity Quantity                     Units   Description                                   Net Unit Price Net Extended Price
   No.        Ordered Shipped     B/O                                Part ID or Work Order ID
                                         PERFORM 28

                                         ETA STOCK IN ODESSA


   1                   6.00          6.00           0.00 EA          FILTER ELEMENT, 25 MICRON, SPIN-ON           T            42.50                   $255.00
                                                                     H11-1003-01A
   2                                                0.00             ECTOR                                        T           (0.00)                     $1.91
   3                                                0.00             MONTGOMERY CNTY                              T           (0.00)                     $2.55
   4                                                0.00             TX                                           T           (0.00)                    $15.94

                                                                                                                      SUB TOTAL                        $275.40
                                                                                                 INVOICE TOTAL IN US FUNDS                             $275.40




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                                                                                                                           Invoice
                                                                            D&B - 00-790-7603
                                                                            Tax ID - XX-XXXXXXX


                                                                                                  Remit To: Canrig Drilling Technology Ltd.
                                                                                                                     P.O. Box 206317
   Sold To:           PERFORMANCE DRILLING CO LLC                                                                Dallas, Texas 75320-6317
                      P.O. BOX 1748                                                                           Office (281) 259-3100 Fax (281) 259-3194

                      BRANDON, MS 39043                                                                         Invoice No:       INV301886
                      USA                                                                                      Invoice Date:      10/3/2018
                                                                                                            Sales Order No:       M074-07040
                                                                                                                     Rig No.      28
   Ship To:           TO RIG LOCATION                                                                               S/N No.       WHSE
                      ODESSA, TX                                                                                    P.O. No:      PERFORMANCE
                                                                                                               Customer No:       942411
                                                                                                            Payment Terms:        NET 30 DAYS
                                                                                                               Shipped VIA:       HOT SHOT
   Ship Date: 10/2/2018                                                                                       Freight Terms:      Freight: Billed
                                                                                                                       FOB:       FOB MAGNOLIA
   EMAIL                                                                                                      Ordered Date:       8/18/2018
                                                                                                              Sales Contact:
   Interest charged on overdue accounts at 1.5% per month:
   Line       Quantity Quantity Quantity                     Units   Description                                     Net Unit Price Net Extended Price
   No.        Ordered Shipped     B/O                                Part ID or Work Order ID
                                         28
                                         ETA STOCK IN MAGNOLIA

                                         RIG DIRECTIONS:
                                         From 115 and 302 in Kermit, West on 302 3 miles to county road 101, Turn north 10.3 miles
                                         on CR 101,Turn left (West) on Impetro road, Go 2.3 miles, turn North on Rig road .4 miles
                                         then south .2 miles to location.


   1                   1.00          1.00           0.00             HOT SHOT                                       T        1,471.45                $1,471.45
                                                                          CRANE PICKED UP
                                                                          9/5/2018
                                                                          HOT SHOT

   2                                                0.00             ECTOR                                          T           (0.00)                   $11.04
   3                                                0.00             MONTGOMERY CNTY                                T           (0.00)                   $14.71
   4                                                0.00             TX                                             T           (0.00)                   $91.97

                                                                                                                        SUB TOTAL                    $1,589.17
                                                                                                  INVOICE TOTAL IN US FUNDS                          $1,589.17




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                                                                                                                          Invoice
                                                                          D&B - 00-790-7603
                                                                          Tax ID - XX-XXXXXXX


                                                                                                Remit To: Canrig Drilling Technology Ltd.
                                                                                                                    P.O. Box 206317
   Sold To:           PERFORMANCE DRILLING CO LLC                                                               Dallas, Texas 75320-6317
                      P.O. BOX 1748                                                                          Office (281) 259-3100 Fax (281) 259-3194

                      BRANDON, MS 39043                                                                        Invoice No:       INV304571
                      USA                                                                                     Invoice Date:      11/19/2018
                                                                                                           Sales Order No:       M074-08116
                                                                                                                    Rig No.      28
   Ship To:           OILFIELD INDUSTRIAL SUPPLY                                                                   S/N No.       SPARES
                      3816 KERMIT HIGHWAY                                                                          P.O. No:      282489
                      ODESSA, TX 79764                                                                        Customer No:       942411
                                                                                                           Payment Terms:        NET 30 DAYS
                                                                                                              Shipped VIA:       FEDEX GROUND
   Ship Date: 11/16/2018                                                                                     Freight Terms:      Freight: Billed
                                                                                                                      FOB:       FOB WTX
   EMAIL                                                                                                     Ordered Date:       11/16/2018
                                                                                                             Sales Contact:
   Interest charged on overdue accounts at 1.5% per month:
   Line       Quantity Quantity Quantity                     Units   Description                                    Net Unit Price Net Extended Price
   No.        Ordered Shipped     B/O                                Part ID or Work Order ID
                                         RIG 28

                                         SHOW IN STOCK IN WTX

   1                   1.00          1.00           0.00 EA          BATTERY CHARGER, RADIO CONTROL UNIT           T          929.58                    $929.58
                                                                     E14993
   2                                                0.00             ECTOR                                         T           (0.00)                     $6.97
   3                                                0.00             MONTGOMERY CNTY                               T           (0.00)                     $9.30
   4                                                0.00             TX                                            T           (0.00)                    $58.10

                                                                                                                       SUB TOTAL                    $1,003.95
                                                                                                INVOICE TOTAL IN US FUNDS                           $1,003.95




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                                                                                 Canrig Drilling Technology Ltd.
                                                                                 14703 FM 1488
                                                                                 MAGNOLIA, TX 77354
                                                                                 USA


                                                                                 Telephone                         281-259-8887
                                                                                 Fax
      Invoice                                                                    Page                             1 of 1
      Bill to:                                                                   Number                           NDUS-S000155
      PERFORMANCE
                                                                                 Date                             November 30, 2018
      P. O. BOX 1748                                                             Sales order                      300001
      BRANDON, MS 39043
      USA                                                                        Customer account                 942411
      Ship to:                                                                   Due date                         December 30, 2018

      Performance
      Attn; Performance Drilling
      3816 Kermit Hwy
      ODESSA, TEXAS 79764
      USA



     Sales order     Customer Ref      Customer Req Item        Description                  Quantity       Unit           Unit price           Amount
     300001          Terry Morace      144696       number

                                                   5051982      Tarp,ServiceLoop,75'x30",
                                                                1200Den,PVCCoated,c/wS          1.00         EA             1,338.51             1,338.51
                                                                traps/B


     Tax authority name                                                                                                                     Tax amount

     TEXAS, STATE OF                                                                                                                                83.66


     HOUSTON METROPOLITAN TRANSIT AUTHORITY                                                                                                         13.39


     HOUSTON, CITY OF                                                                                                                               13.39



     Currency       Sales subtotal amount               Charges               Net amount                Sales tax                       Invoice amount

     USD                            1,338.51                 0.00                1,338.51                  110.44                               1,448.95

                                                                         *** One Thousand Four Hundred Forty Eight and 95/100             USD




                                                                                            Remit to: Wells Fargo Bank, N.A.
                                                                                                      Acct: 4128815776
                                                                                                      ABA: 121000248
                                                                                                      Swift: WFBIUS6S
                                                                                                      Canrig Drilling Technology Ltd
                                                                                                      420 Montgomery Street
                                                                                                      San Francisco, CA 94104
                                                                                                      Lockbox Address:
                                                                                                      PO Box 206317
                                                                                                      Dallas, TX 75320-6317

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                                                                               Canrig Drilling Technology Ltd.
                                                                               14703 FM 1488
                                                                               MAGNOLIA, TX 77354
                                                                               USA


                                                                               Telephone                         281-259-8887
                                                                               Fax
      Invoice                                                                  Page                             1 of 1
      Bill to:                                                                 Number                           NDUS-S000166
      PERFORMANCE
                                                                               Date                             November 30, 2018
      P. O. BOX 1748                                                           Sales order                      300423
      BRANDON, MS 39043
      USA                                                                      Customer account                 942411
      Ship to:                                                                 Due date                         December 30, 2018

      Performance
      Attn; Performance Drilling
      3816 Kermit Hwy
      ODESSA, TEXAS 79764
      USA



     Sales order     Customer Ref    Customer Req Item        Description                  Quantity       Unit           Unit price           Amount
     300423          Jeffrey Shumaker 144862      number

                                                 5090         Amplifier,Current,24VDC,4
                                                                                              1.00         EA             994.61                994.61
                                                              -20mA,100mAOutput


     Tax authority name                                                                                                                   Tax amount

     TEXAS, STATE OF                                                                                                                              62.16


     HOUSTON METROPOLITAN TRANSIT AUTHORITY                                                                                                        9.95


     HOUSTON, CITY OF                                                                                                                              9.95



     Currency       Sales subtotal amount               Charges             Net amount                Sales tax                       Invoice amount

     USD                            994.61                 0.00                 994.61                    82.06                               1,076.67

                                                                                      *** One Thousand Seventy Six and 67/100           USD




                                                                                          Remit to: Wells Fargo Bank, N.A.
                                                                                                    Acct: 4128815776
                                                                                                    ABA: 121000248
                                                                                                    Swift: WFBIUS6S
                                                                                                    Canrig Drilling Technology Ltd
                                                                                                    420 Montgomery Street
                                                                                                    San Francisco, CA 94104
                                                                                                    Lockbox Address:
                                                                                                    PO Box 206317
                                                                                                    Dallas, TX 75320-6317

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                                                                                                                         Invoice
                                                                          D&B - 00-790-7603
                                                                          Tax ID - XX-XXXXXXX


                                                                                                 Remit To: Canrig Drilling Technology Ltd.
                                                                                                                   P.O. Box 206317
   Sold To:           PERFORMANCE DRILLING CO LLC                                                              Dallas, Texas 75320-6317
                      P.O. BOX 1748                                                                         Office (281) 259-3100 Fax (281) 259-3194

                      BRANDON, MS 39043                                                                       Invoice No:       INV308520
                      USA                                                                                    Invoice Date:      2/12/2019
                                                                                                          Sales Order No:       M074-08664
                                                                                                                   Rig No.      28
   Ship To:           CANRIG C/O PERFORMANCE                                                                      S/N No.       828
                      2500 W OREGON ST                                                                            P.O. No:      282586
                      ODESSA, TX 79760                                                                       Customer No:       942411
                                                                                                          Payment Terms:        NET 30 DAYS
                                                                                                             Shipped VIA:       PICK-UP / WILL CALL
   Ship Date: 2/7/2019                                                                                      Freight Terms:      Freight: Billed
                                                                                                                     FOB:       EX WORKS
   EMAIL                                                                                                    Ordered Date:       2/6/2019
                                                                                                            Sales Contact:
   Interest charged on overdue accounts at 1.5% per month:
   Line       Quantity Quantity Quantity                     Units   Description                                   Net Unit Price Net Extended Price
   No.        Ordered Shipped     B/O                                Part ID or Work Order ID
                                         **PERF. 28**

                                         **IN STOCK WTX-WHSE**

   1                   6.00          6.00           0.00 EA          FILTER ELEMENT, 25 MICRON, SPIN-ON           T            42.50                   $255.00
                                                                     H11-1003-01A
   2                                                0.00             ECTOR                                        T           (0.00)                     $1.91
   3                                                0.00             MONTGOMERY CNTY                              T           (0.00)                     $2.55
   4                                                0.00             TX                                           T           (0.00)                    $15.94

                                                                                                                      SUB TOTAL                        $275.40
                                                                                                 INVOICE TOTAL IN US FUNDS                             $275.40




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                                                                                                                              Invoice
                                                                          D&B - 00-790-7603
                                                                          Tax ID - XX-XXXXXXX


                                                                                                      Remit To: Canrig Drilling Technology Ltd.
                                                                                                                        P.O. Box 206317
   Sold To:           PERFORMANCE DRILLING CO LLC                                                                   Dallas, Texas 75320-6317
                      P.O. BOX 1748                                                                              Office (281) 259-3100 Fax (281) 259-3194

                      BRANDON, MS 39043                                                                            Invoice No:       INV312628
                      USA                                                                                         Invoice Date:      4/15/2019
                                                                                                               Sales Order No:       M150-176928
                                                                                                                        Rig No.      28
   Ship To:           TO RIG LOCATION                                                                                  S/N No.       1059
                      ODESSA, TX                                                                                       P.O. No:      282632
                                                                                                                  Customer No:       942411
                                                                                                               Payment Terms:        NET 30 DAYS
                                                                                                                  Shipped VIA:       HOT SHOT
   Ship Date: 3/23/2019                                                                                          Freight Terms:      Freight: Billed
                                                                                                                          FOB:       EX WORKS MAGNOLIA
   EMAIL                                                                                                         Ordered Date:       3/23/2019
                                                                                                                 Sales Contact:
   Interest charged on overdue accounts at 1.5% per month:
   Line       Quantity Quantity Quantity                     Units   Description                                        Net Unit Price Net Extended Price
   No.        Ordered Shipped     B/O                                Part ID or Work Order ID
                                         **LINE 1 STOCK IN MAG/ODESSA**
                                         **LINE 2 STOCK ONLY IN MAG**

   1                   1.00          1.00           0.00 EA          PLUG, 1 PIN, 777, RED, SIZE 24                    T          877.78                    $877.78
                                                                     E13476
   2                   1.00          1.00           0.00 EA          RECEPTACLE, 1 SOCKET, SIZE 24, RED                T          764.24                    $764.24
                                                                     E13471
   3                                                0.00             ECTOR                                             T           (0.00)                    $12.31
   4                                                0.00             MONTGOMERY CNTY                                   T           (0.00)                    $16.42
   5                                                0.00             TX                                                T           (0.00)                   $102.63

                                                                                                                           SUB TOTAL                    $1,773.38
                                                                                                      INVOICE TOTAL IN US FUNDS                         $1,773.38




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                                                                                      C




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         Canrig US - Performance Drilling Co LLC AR
                                                                                                                                                                                                                                        C-1
          Customer Number   Customer Name                 Trx Date    Trx Number      Amount Due Remaining          1-30          31-60      61-90          91-120       Over 120       Customer OrderCustomer PO ReRIG No   SN
          942411            PERFORMANCE DRILLING CO LLC     04/12/2018 226291                             112.43           0.00       0.00           0.00        0.00         112.43
          942411            PERFORMANCE DRILLING CO LLC     07/24/2018 227360                             521.18           0.00       0.00           0.00        0.00         521.18
          942411            PERFORMANCE DRILLING CO LLC     08/29/2018 NDUS-S000037                     3,989.80           0.00       0.00           0.00        0.00        3,989.80
          942411            PERFORMANCE DRILLING CO LLC     08/30/2018 NDUS-S000055                     7,033.30           0.00       0.00           0.00        0.00        7,033.30
          942411            PERFORMANCE DRILLING CO LLC     09/11/2018 NDUS-S000079                     1,048.87           0.00       0.00           0.00        0.00        1,048.87
          942411            PERFORMANCE DRILLING CO LLC     09/17/2018 C074-10555                      10,554.38           0.00       0.00           0.00        0.00       10,554.38
          942411            PERFORMANCE DRILLING CO LLC     09/17/2018 INV300920                          349.30           0.00       0.00           0.00        0.00         349.30 M074-07184        282384      28        WH SPARE
          942411            PERFORMANCE DRILLING CO LLC     09/17/2018 C074-10557                      11,779.77           0.00       0.00           0.00        0.00       11,779.77
          942411            PERFORMANCE DRILLING CO LLC     09/17/2018 C074-10560                      24,965.70           0.00       0.00           0.00        0.00       24,965.70
          942411            PERFORMANCE DRILLING CO LLC     09/17/2018 INV300944                          275.40           0.00       0.00           0.00        0.00         275.40 M074-07368        282407GB    28        WHSE
          942411            PERFORMANCE DRILLING CO LLC     10/03/2018 INV301886                        1,589.17           0.00       0.00           0.00        0.00        1,589.17 M074-07040       PERFORMANCE28         WHSE
          942411            PERFORMANCE DRILLING CO LLC     11/19/2018 INV304571                        1,003.95           0.00       0.00           0.00        0.00        1,003.95 M074-08116       282489      28        SPARES
          942411            PERFORMANCE DRILLING CO LLC     11/30/2018 NDUS-S000155                     1,448.95           0.00       0.00           0.00        0.00        1,448.95
          942411            PERFORMANCE DRILLING CO LLC     11/30/2018 NDUS-S000166                     1,076.67           0.00       0.00           0.00        0.00        1,076.67
          942411            PERFORMANCE DRILLING CO LLC     01/23/2019 C074-10636                     107,607.00           0.00       0.00           0.00        0.00      107,607.00
          942411            PERFORMANCE DRILLING CO LLC     02/12/2019 INV308520                          275.40           0.00       0.00           0.00        0.00         275.40 M074-08664        282586      28        828
          942411            PERFORMANCE DRILLING CO LLC     02/22/2019 NDUS-P001854                     2,852.57           0.00       0.00           0.00        0.00        2,852.57
          942411            PERFORMANCE DRILLING CO LLC     04/15/2019 INV312628                        1,773.38           0.00       0.00           0.00     1,773.38              0.00 M150-176928   282632      28        1059
          942411            PERFORMANCE DRILLING CO LLC     05/15/2019 NDUS-P002777                   115,288.42           0.00       0.00    115,288.42         0.00            0.00
          942411            PERFORMANCE DRILLING CO LLC     05/15/2019 NDUS-P002778                   115,286.25           0.00       0.00    115,286.25         0.00            0.00
          942411            PERFORMANCE DRILLING CO LLC     05/21/2019 C074-10674                     102,806.12           0.00       0.00    102,806.12         0.00            0.00
          942411            PERFORMANCE DRILLING CO LLC     05/21/2019 C074-10675                     232,495.03           0.00       0.00    232,495.03         0.00            0.00
          942411            PERFORMANCE DRILLING CO LLC     05/21/2019 C074-10676                      83,352.50           0.00       0.00     83,352.50         0.00            0.00
          942411            PERFORMANCE DRILLING CO LLC     05/21/2019 C074-10677                     115,286.25           0.00       0.00    115,286.25         0.00            0.00
          942411            PERFORMANCE DRILLING CO LLC     05/21/2019 C074-10678                      48,496.00           0.00       0.00     48,496.00         0.00            0.00
          942411            PERFORMANCE DRILLING CO LLC     05/21/2019 C074-10680                     107,600.50           0.00       0.00    107,600.50         0.00           0.00
          942411            PERFORMANCE DRILLING CO LLC     07/10/2019 NDUS-P003382                    86,263.36     86,263.36        0.00           0.00        0.00           0.00
          TOTAL                                                                                      1,185,131.65    86,263.36        0.00    920,611.07      1,773.38     176,483.84




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                                                                                                             C-2
          From: Christa Garrett <cgarrett@lilisenergy.com>
          Date: July 18, 2019 at 5:18:54 PM CDT
          To: "hollyhamm@snowspencelaw.com" <hollyhamm@snowspencelaw.com>
          Subject: Canrig Invoices

          Hi Holly,

          We spoke on the phone the other day regarding Canrig Drilling Technology’s unpaid invoices. Attached
          is from our AP system showing all invoices that we received from Performance as well as payments
          made to Performance on the Kudu wells. There is a remaining balance of $90,100.83; however, that
          amount is being withheld by us based on prior claims by two of Performance’s other subcontractors.

          If you require any additional information, please let me know.

          Christa Garrett
          Vice President Associate General Counsel




                                                                1

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                                                 CAUSE NO. ____________
                                                                                                           D
              NABORS DRILLING TECHNOLOGIES                     §          IN THE DISTRICT COURT OF
              USA, INC. d/b/a CANRIG DRILLING                  §
              TECHNOLOGY, LTD.                                 §
                                                               §
                        Plaintiff,                             §
                                                               §          WINKLER COUNTY, TEXAS
              v.                                               §
                                                               §
              PERFORMANCE DRILLING                             §
              COMPANY LLC,                                     §
                                                               §          109TH JUDICIAL DISTRICT
                        Defendant.

                                         TEMPORARY RESTRAINING ORDER

                    On this day, the Court considered Nabors Drilling Technologies USA, Inc. d/b/a Canrig

             Drilling Technology, Ltd.’s (“Canrig”) request for temporary injunctive relief as set forth in

             Canrig’s Original Petition and Verified Application for Injunctive Relief (the “Application”)

             seeking an order:

                         temporarily restraining Performance Drilling Company LLC (“Performance Drilling”
                          or “Defendant”) from paying, using, dissipating, diverting, or disposing of funds that
                          Performance received from Lilis Energy, Inc. (“Lilis”) between April 19, 2019 and
                          June 1, 2019 as payment for drilling operations Performance Drilling performed for
                          Impetro Operating, LLC (“Impetro”) and Lilis in Winkler County, Texas; and

                         requiring Defendant to provide an accounting to Canrig for Defendant’s use or
                          maintenance of such funds which shall include an identification of (i) all amounts
                          paid to Defendant by Impetro or Lilis, (ii) in what account such funds are held, and
                          (iii) to whom any such funds have been disbursed, when such disbursements were
                          made, and for what purpose.

                    Having considered the Application, evidence and arguments of counsel, if any, and

             applicable law, the Court finds that the request for temporary restraining order in the Application

             is well-taken and should be GRANTED and, for the reasons set forth below, the following orders

             should be entered:




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                                                            I.
                                               Findings in Support of TRO

                    1.       The Court finds that Canrig has proven its probable right to relief and probable

             injury and that, unless and until Defendant Performance Drilling is immediately restrained, Canrig

             will suffer imminent harm and irreparable injury for which it has no adequate remedy at law.

                    2.       Accordingly, the Court finds that it should maintain the status quo and protect

             Canrig from irreparable injury by entering a temporary restraining order against Performance.

                    3.       Harm is imminent and ongoing because Performance has withheld, concealed, or

             misappropriated trust funds under Chapter 162 of the Texas Property Code.

                    4.       Canrig has no adequate remedy because Canrig is a beneficiary of the trust funds,

             and the trust funds are likey Canrig’s only meaningful source of recovery under Chapter 162 of

             the Texas Property Code.

                    5.       Performance is indebted to Canrig in the principal amount of not less than

             $1,185,131.65 under the June 22, 2018 Rental Agreement, attached to the Application as Exhibit

             A, for materials and services Canrig provided to Performance in support of drilling operations

             Performance performed for Impetro and Lilis in Winkler County, Texas (the “Drilling

             Operations”).

                    6.       Despite Canrig’s requests for payment, Performance has refused to pay its

             indebtedness to Canrig.

                    7.       Between April 19, 2019 and July 1, 2019, Lilis paid Performance not less than

             $2,054,248.98 on account of the Drilling Operations (together with any prior payments made by

             Impetro or Lilis to Defendant, the “Trust Funds”).

                    8.       Pursuant to Chapter 162 of the Texas Property Code, Performance is a trustee of

             the Trust Funds, Canrig is a beneficiary of the Trust Funds, and Performance is required to use the

             Trust Funds to pay its indebtedness to Canrig and account to Canrig for the Trust Funds.


                                                             2
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                      9.      Canrig, in all probability, will prevail on its claims that Performance is in breach of

             the Rental Agreement and that Canrig is a beneficiary of the Trust Funds.

                      10.     As trustee of the Trust Funds, Performance is obligated to, inter alia, account for

             the Trust Funds and ensure they are properly distributed to beneficiaries of the Trust Funds,

             including Canrig.

                      11.     To preserve the status quo of Canrig’s rights, this Court shall issue a temporary

             restraining order against Performance, its officers, directors, employees, agents, attorneys, or any

             other person or entity acting on Defendant’s behalf with respect to the Trust Funds (i) prohibiting

             the payment, use, dissipation, diversion, or disbursement of the Trust Funds until such time as this

             Court may hear and determine Canrig’s application for temporary injunction and (ii) requiring that

             Performance account to Canrig for any disposition of and use of the Trust Funds prior to the date

             of this Order.

                                                           II.
                                                Temporary Restraining Order

                      IT IS, THEREFORE, ORDERED that this Temporary Restraining Order shall be

             immediately binding on Performance Drilling Company LLC and its officers, agents, servants,

             employees, and attorneys and upon those persons in active concert or participation with them who

             receive actual notice of this Order by personal service or otherwise (collectively the “Enjoined

             Parties”).

                      IT IS FURTHER ORDERED that the Enjoined Parties be, and hereby are, restrained and

             enjoined from paying, using, dissipating, diverting, disbursing, or otherwise disposing of the Trust

             Funds.

                      IT IS FURTHER ORDERED that the Enjoined Parties shall, within seven (7) days of

             receiving actual notice of this Order, provide an accounting to Canrig of the Trust Funds which

             shall include an identification of (i) all amounts paid to Defendant by Impetro or Lilis, (ii) in what


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             account such funds are held, and (iii) to whom any such funds have been disbursed, when such

             disbursements were made, and for what purpose.

                      IT IS FURTHER ORDERED that unless terminated earlier by this Court, this Temporary

             Restraining Order shall expire fourteen (14) days from the date of entry of this Order unless, within

             the time limit set out above, the Court extends the effectiveness of this Order in compliance with

             applicable law or it is extended by agreement of the parties; and

                      IT IS FURTHER ORDERED that Performance Drilling shall appear before this Court
                      21st          1:00     p
             on August ___, 2019 at _________ ___.m. in the courtroom of the 109th Judicial District Court of

             Winkler County, Texas, then and there to show cause, if there be any, why a temporary injunction

             should not be issued as requested by Plaintiff.

                      The Clerk of the Court is hereby directed to issue a show cause notice to Performance

             Drilling to appear at the temporary injunction hearing. Canrig’s counsel is directed to attempt to

             accomplish service of the Citation, this Order, and the Order to Show Cause issued by the Clerk,

             by personal delivery, certified mail, return receipt requested, or courier, return receipt requested,

             by a Sheriff or Constable of the State of Texas, Canrig’s counsel, or any other person competent

             to make oath of the fact of service upon Performance Drilling; and

                      IT IS FURTHER ORDERED that due to the expedited nature of the relief requested, any

             discovery related to the matters set for hearing before the Court on Canrig’s application for

             temporary injunction on the above date shall be served or noticed no later than three (3) days

             following service of this Order and all responses to such discovery or depositions noticed shall be

             served or completed within ten (10) days of the service of the discovery requests; and

                      IT IS FURTHER ORDERED that the Clerk of this Court shall forthwith, on the filing by

             Canrig of the bond hereinafter required, and on approving same according to the law, issue a

             temporary restraining order and show cause notice in conformity with the law and the terms of this

             Order.

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                    IT IS FURTHER ORDERED that this Order shall not be effective unless and until Canrig

             executes and files with the Clerk a bond, in conformity with the law, in the amount of
           ten thousand dollars                                 10,000.00
             _______________________ and no/100 U.S. Dollars ($____________.___).
                        9th
             SIGNED this ___ day of August 2019.


                                                      HONORABLE JUDGE PRESIDING




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                                                                            Winkler County, Texas

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                                                                           Winkler County, Texas
                                                                           Reviewed By: Dixie Randolph


                                        CAUSE NO. DC19-17645

 NABORS DRILLING TECHNOLOGIES                           §           IN THE DISTRICT COURT OF
 USA, INC. d/b/a CANRIG DRILLING                        §
 TECHNOLOGY, LTD.,                                      §
                                                        §
           Plaintiff,                                   §
                                                        §
 V.                                                     §             WINKLER COUNTY, TEXAS
                                                        §
 PERFORMANCE DRILLING                                   §
 COMPANY LLC                                            §
                                                        §
           Defendant.                                   §              109TH JUDICIAL DISTRICT

                 PERFORMANCE DRILLING COMPANY LLC’S MOTION TO
                     DISSOLVE TEMPORARY RESTRAINING ORDER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, PERFORMANCE DRILLING COMPANY LLC, and files this, its Motion

to Dissolve Temporary Restraining Order and for such would respectfully show unto the Court as

follows:

                                          I.      BACKGROUND

        1.       On or About August 13, 2019, PERFORMANCE DRILLING COMPANY LLC

(collectively, “Defendant” or “Performance”), was served with Plaintiff’s Original Petition and

Verified Application for Injunctive Relief. The Citation issued in connection therewith was dated

August 8, 2019. The Original Petition defines Exhibit “D” to the Original Petition as being the

“proposed Form of Temporary Restraining Order . . . .” See paragraph 29. Yet, the Exhibit “D”

served on the Defendant purports to contain a signature of the Court dated the 9th day of August,

2019. However, given the August 8 Citation Date, the August 9 signature seems out of sequence.

Moreover, no writ of injunction was served upon Defendant so it is unclear whether such order is




PERFORMANCE DRILLING COMPANY LLC’S MOTION TO DISSOLVE
TEMPORARY RESTRAINING ORDER                                                                   PAGE 1

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effective.1      In the event it is, this Motion to Dissolve pursuant to Texas Rules of Civil

Procedure 680 is being filed.

                                     II.      GROUNDS FOR DISSOLUTION

           2.       The Temporary Restraining Order, if it has been made effective by the posting of

the bond and issuance of a writ, is void on its face. Rule 680 of the Texas Rules of Civil Procedure

requires that an ex-parte writ of injunction “be endorsed with the date and hour of issuance; . . .

shall . . . state why it is irreparable and why the order was granted without notice; . . . .” The Texas

Supreme Court has held that a temporary restraining order which fails to comply with the

requirements of TRCP 680 is void. In re Office of the Attorney General, 257 S.W. 3d 695, 697

(Tex. 2008).

           3.       Exhibit “D” to the Plaintiff’s Original Petition (which purports to bear this Court’s

signature) fails to comply with Rule 680. Namely, the order fails to contain the finding mandated

by TRCP 680 as to why the order “was granted without notice” and further fails to contain the

hour of its issuance. Accordingly, the Temporary Restraining Order is void. Given that such

Order is void, such Order should be dissolved.

           4.       In addition to the technical problem with the order prepared by the Plaintiff, the

Plaintiffs’ legal theory is contrary to the established law in the State of Texas. As finding #5 states,

the “materials and services Canrig provided to Performance” are claimed to be in support of

“drilling operations Performance performed for Impetro and Lilis in Winkler County, Texas (the

‘Drilling Operations’).” Contrary to the claims made by the Plaintiff, Chapter 162 does not apply

to drilling operations. In 1986, this issue was directly addressed by the Austin Court of Appeals

and it was held that as a matter of law “drilling in oil and gas well is not the construction of an



    1
        Defendant obtained a docket sheet from the District Court and it does not reflect a TRO being entered.


PERFORMANCE DRILLING COMPANY LLC’S MOTION TO DISSOLVE
TEMPORARY RESTRAINING ORDER                                                                                      PAGE 2

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improvement on real property within the meaning of Chapter 162 . . . .” Holley v. NL Industries,

718 S.W. 2d 813, 815 (Tex. App.-Austin 1986, writ ref’d n.r.e.).

        5.      Chapter 162 only protects materialman and contractors performing “under a

construction contract for the improvement of specific real property in [Texas]”. Tex. Prop. Code

§ 162.001(a). Merely providing equipment to be used in connection with undefined drilling oil or

gas drilling operations is not “construction”. Instead, Chapter 56 of the Texas Property Code

defines the drilling of an oil or gas well as a “mineral activity”. Tex. Prop. Code § 56.001(1). A

person who supplies materials or machinery to be used in connection with mineral activities is a

“mineral contractor”. Tex. Prop. Code § 56.001(2). Chapter 162 does not apply to mineral

activities. Accordingly, the substantive law supporting the Plaintiffs’ claim for a temporary

restraining order will not support the issuance of a temporary restraining order or a temporary

injunction.

        6.      In the event that the Court determines that Chapter 162 is capable of applying to oil

and gas drilling operations, Plaintiff has still not established that its equipment lease falls within

the purview of Chapter 162. On its face, Chapter 162 requires that the Plaintiff establish that it

furnished “labor or material” in connection with an improvement on “specific real property” in

order for the Plaintiff to qualify as a beneficiary under Chapter 162. Tex. Prop. Code § 162.003(a).

        7.      The lease between Plaintiff and Performance is unrelated to any “specific” real

estate improvement or drilling operations. Canrig simply leased equipment to Performance, which

Performance was permitted to use on any projects or no projects. In fact, the Canrig lease is dated

June 22, 2018, which is nearly one year before any of the Impetro/Lilis payments, which are at

issue. Canrig’s own invoices show that the equipment was used on at least two different projects

during the lease term. Simply put, Canrig has offered no evidence that the lease or amounts in



PERFORMANCE DRILLING COMPANY LLC’S MOTION TO DISSOLVE
TEMPORARY RESTRAINING ORDER                                                                     PAGE 3

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dispute are related to a “specific real property” as required by Chapter 162. Without a direct

connection between the lease and the Impetro/Lilis project, Plaintiff cannot show that it is a

beneficiary under Chapter 162, if Chapter 162 is deemed to apply. Accordingly, the Temporary

Restraining Order should be dissolved.

        8.      Pleading further, assuming Canrig can establish that Chapter 162 is applicable and

that Canrig is a beneficiary of the Trust created by Chapter 162, Canrig is still not entitled to

injunctive relief. This precise issue was presented to the Court in Fisk-Allied v. Manhattan

Construction, 835 F.Supp. 334, 335 (E.D. Tex. 1993). In that case, a request for injunctive relief

was presented to the Court and the Court determined that Chapter 162 is not susceptible of

supporting injunctive relief. As the Eastern District found, the “Trust” created by Chapter 162 is

not a true “Trust.” Because it is not a true Trust, it will not support the issuance of a temporary

injunction. Accordingly, the Temporary Restraining Order should be dissolved.

        9.      Still pleading further, if need be, Plaintiff would show that the scope of the

Temporary Restraining Order conflicts in certain respects with the Court’s findings. For instance,

the Temporary Restraining Order purports to restrain and enjoin Performance from “paying, using,

dissipating, diverting, distributing or otherwise disposing of the Trust Funds which is defined at

Paragraph 7 of the Court’s findings as the “not less than $2,054,248.98 paid by Lilis to

Performance between April 19, 2019 and July 1, 2019”. While Performance is restrained from

using any of the $2,054,248.98 allegedly paid by Lilis to Performance, Canrig is only making a

claim for $1,185,131.65. Accordingly, the prohibition on the use the difference between Canrig’s

claim amount and the balance of the payments is overly broad and unsupported.

        10.     Moreover, a portion of the Canrig claim is, on the face of its own pleading,

unrelated to the Lilis wells. Canrig’s own pleading establishes that some of its charges were



PERFORMANCE DRILLING COMPANY LLC’S MOTION TO DISSOLVE
TEMPORARY RESTRAINING ORDER                                                                  PAGE 4

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incurred in connection with work undertaken by Performance for Crown Quest, while other

charges are unassociated with any well. Assuming Chapter 162 applies to the payments at issue,

Canrig has shown no basis for a “Trust” claim on charges not directly associated with the Lilis

project. Accordingly, the Temporary Restraining Order should be dissolved.

        11.     Moreover, Chapter 162 allows Performance to use the “Trust” funds to pay its

“actual expenses” as well as other subcontractors. Restraining Performance from paying its own

direct expenses and other subcontractors is overly broad as it creates restrictions on the use of the

funds not found within Chapter 162.

        12.     Still pleading further, Performance would show that the Temporary Restraining

Order seeks to do more than to simply “restrain” Performance from “paying, using, dissipating,

diverting, distributing or otherwise disposing of the Trust Funds”. The order seeks to impose

“mandatory” obligations upon Performance. Notably, the order purports to require Performance

to provide “an accounting to Canrig of the Trust Funds which shall include an identification of

(i) all amounts paid by Defendant by Impetro or Lilis, (ii) in what account such funds are held, and

(iii) to whom any such funds have been distributed, when such distributions were made, and for

what purpose”. The mandatory nature of this portion of the Court’s order is improper. Such order

does not purport to maintain the “status quo” but seeks to require Performance to create documents

for the Plaintiffs’ benefit. Such a requirement shifts the status quo and affords Plaintiff complete

relief with respect to any “accounting” issues. A temporary restraining order, particularly one

issued on an ex parte basis, should not be a vehicle for affording the Plaintiff the relief which it

should seek through the trial on the merits. Moreover, no findings supports the need for requiring

Performance to provide an “accounting” on an expedited basis. Accordingly, the Temporary

Restraining Order should be dissolved.



PERFORMANCE DRILLING COMPANY LLC’S MOTION TO DISSOLVE
TEMPORARY RESTRAINING ORDER                                                                    PAGE 5

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                                                PRAYER

        WHEREFORE, PREMISES CONSIDERED, Performance Drilling Company LLC

respectfully requests that the Temporary Restraining Order which was seemingly signed by this

Court on August 9, 2019 be dissolved for the reason that such Order is void, that it is not supported

by the law, and that it is overreaching in that it required the Defendant to provide the Plaintiff with

an accounting, and that the Defendant be further awarded such other and further relief to which it

may show itself justly or equitably entitled.

                                                        Respectfully submitted,

                                                        /s/ Jeffrey R. Seckel       [2019-08-19]
                                                        JEFFREY R. SECKEL
                                                        Texas Bar Number 17973200
                                                        MCGUIRE CRADDOCK STROTHER PC
                                                        2501 North Harwood, Suite 1800
                                                        Dallas, Texas 75201
                                                        T: (214) 954-6800
                                                        F: (214) 954-6850
                                                        jseckel@mcslaw.com

                                                        ATTORNEY FOR DEFENDANT




PERFORMANCE DRILLING COMPANY LLC’S MOTION TO DISSOLVE
TEMPORARY RESTRAINING ORDER                                                                      PAGE 6

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                                   CERTIFICATE OF SERVICE

      I, Jeffrey R. Seckel, certify that on August 19, 2019, my office served the foregoing
document, via electronic service, facsimile or certified, return receipt requested US Mail, on:

         Kenneth P. Green                                R. Layne Rouse
         SNOW SPENCE GREEN LLP                           Dick R. Holland
         2929 Allen Parkway, Suite 2800                  SHAFER, DAVIS, O’LEARY & STOKER, INC.
         Houston, Texas 77019                            700 North Grant Ave., Suite 201
         T: (713) 335-4800                               P.O. Drawer 1552
         F: (713) 335-4848                               Odessa, Texas 79760
         kgreen@snowspencelaw.com                        T: (432) 695-6122
         Attorneys for Plaintiff                         F: (432) 333-5002
                                                         lrouse@shaferform.com
                                                         dholland@shaferfirm.com
                                                         Attorneys for Plaintiff

                                                        /s/ Jeffrey R. Seckel [2019-08-19]
                                                        JEFFREY R. SECKEL




PERFORMANCE DRILLING COMPANY LLC’S MOTION TO DISSOLVE
TEMPORARY RESTRAINING ORDER                                                                  PAGE 7

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                                                                                 District Clerk
                                                                                 Winkler County, Texas
                                                                                 Reviewed By: Dixie Randolph


                                         CAUSE NO. DC19-17645

  NABORS DRILLING TECHNOLOGIES                         §                    IN THE DISTRICT COURT OF
  USA, INC. d/b/a CANRIG DRILLING                      §
  TECHNOLOGY, LTD.,                                    §
                                                       §
              Plaintiff,                               §
                                                       §
  V.                                                   §                      WINKLER COUNTY, TEXAS
                                                       §
  PERFORMANCE DRILLING                                 §
  COMPANY LLC                                          §
                                                       §
              Defendant.                               §                       109TH JUDICIAL DISTRICT

                                           ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Defendant PERFORMANCE DRILLING COMPANY LLC, a Mississippi

limited liability company (“Defendant” or “Performance”), and files this its Original Answer to

Plaintiff’s Original Petition and Verified Application for Injunctive Relief brought by Plaintiff

NABORS           DRILLING      TECHNOLOGIES           USA,     INC.   d/b/a    CANRIG       DRILLING

TECHNOLOGY, LTD. (“Plaintiff” or “Canrig”), a Texas corporation, and would respectfully

show as follows:

         Defendant generally denies, each and every, all and singular, the material allegations

contained in Plaintiff's Original Petition and Verified Application for Injunctive Relief, and

demands strict proof thereof.

         WHEREFORE, Defendant respectfully requests:

         1.        That the Court deny the relief requested by Plaintiff;

       2.     That the Court award Defendant its reasonable and necessary attorneys’ fees in
defending against the Petition brought by Plaintiff; and,

       3.       That the Court grant Defendant all such other and further relief to which it may
show itself justly entitled.


ORIGINAL ANSWER                                                                                     PAGE 1

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                                                    Cause No. DC19-17645
                       Nabors Drilling Technologies USA, Inc., et al v. Performance Drilling Company LLC



                                                                    Respectfully submitted,


                                                                    /s/ Jeffrey R. Seckel       [2019-08-19]
                                                                    JEFFREY R. SECKEL
                                                                    Texas Bar Number 17973200
                                                                    MCGUIRE CRADDOCK STROTHER PC
                                                                    2501 North Harwood, Suite 1800
                                                                    Dallas, Texas 75201
                                                                    T: (214) 954-6800
                                                                    F: (214) 954-6850
                                                                    jseckel@mcslaw.com

                                                                    ATTORNEY FOR DEFENDANT



                                          CERTIFICATE OF SERVICE

      I, Jeffrey R. Seckel, certify that on August 19, 2019, my office served the foregoing
document, via electronic service, facsimile or certified, return receipt requested US Mail, on:

            Kenneth P. Green                                        R. Layne Rouse
            SNOW SPENCE GREEN LLP                                   Dick R. Holland
            2929 Allen Parkway, Suite 2800                          SHAFER, DAVIS, O’LEARY & STOKER, INC.
            Houston, Texas 77019                                    700 North Grant Ave., Suite 201
            T: (713) 335-4800                                       P.O. Drawer 1552
            F: (713) 335-4848                                       Odessa, Texas 79760
            kgreen@snowspencelaw.com                                T: (432) 695-6122
            Attorneys for Plaintiff                                 F: (432) 333-5002
                                                                    lrouse@shaferform.com
                                                                    dholland@shaferfirm.com
                                                                    Attorneys for Plaintiff

                                                                    /s/ Jeffrey R. Seckel                  [2019-08-19]
                                                                    JEFFREY R. SECKEL




ORIGINAL ANSWER                                                                                                   PAGE 2

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                                                 CAUSE NO. ____________
                                                                                                           D
              NABORS DRILLING TECHNOLOGIES                     §          IN THE DISTRICT COURT OF
              USA, INC. d/b/a CANRIG DRILLING                  §
              TECHNOLOGY, LTD.                                 §
                                                               §
                        Plaintiff,                             §
                                                               §          WINKLER COUNTY, TEXAS
              v.                                               §
                                                               §
              PERFORMANCE DRILLING                             §
              COMPANY LLC,                                     §
                                                               §          109TH JUDICIAL DISTRICT
                        Defendant.

                                         TEMPORARY RESTRAINING ORDER

                    On this day, the Court considered Nabors Drilling Technologies USA, Inc. d/b/a Canrig

             Drilling Technology, Ltd.’s (“Canrig”) request for temporary injunctive relief as set forth in

             Canrig’s Original Petition and Verified Application for Injunctive Relief (the “Application”)

             seeking an order:

                         temporarily restraining Performance Drilling Company LLC (“Performance Drilling”
                          or “Defendant”) from paying, using, dissipating, diverting, or disposing of funds that
                          Performance received from Lilis Energy, Inc. (“Lilis”) between April 19, 2019 and
                          June 1, 2019 as payment for drilling operations Performance Drilling performed for
                          Impetro Operating, LLC (“Impetro”) and Lilis in Winkler County, Texas; and

                         requiring Defendant to provide an accounting to Canrig for Defendant’s use or
                          maintenance of such funds which shall include an identification of (i) all amounts
                          paid to Defendant by Impetro or Lilis, (ii) in what account such funds are held, and
                          (iii) to whom any such funds have been disbursed, when such disbursements were
                          made, and for what purpose.

                    Having considered the Application, evidence and arguments of counsel, if any, and

             applicable law, the Court finds that the request for temporary restraining order in the Application

             is well-taken and should be GRANTED and, for the reasons set forth below, the following orders

             should be entered:




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                                                            I.
                                               Findings in Support of TRO

                    1.       The Court finds that Canrig has proven its probable right to relief and probable

             injury and that, unless and until Defendant Performance Drilling is immediately restrained, Canrig

             will suffer imminent harm and irreparable injury for which it has no adequate remedy at law.

                    2.       Accordingly, the Court finds that it should maintain the status quo and protect

             Canrig from irreparable injury by entering a temporary restraining order against Performance.

                    3.       Harm is imminent and ongoing because Performance has withheld, concealed, or

             misappropriated trust funds under Chapter 162 of the Texas Property Code.

                    4.       Canrig has no adequate remedy because Canrig is a beneficiary of the trust funds,

             and the trust funds are likey Canrig’s only meaningful source of recovery under Chapter 162 of

             the Texas Property Code.

                    5.       Performance is indebted to Canrig in the principal amount of not less than

             $1,185,131.65 under the June 22, 2018 Rental Agreement, attached to the Application as Exhibit

             A, for materials and services Canrig provided to Performance in support of drilling operations

             Performance performed for Impetro and Lilis in Winkler County, Texas (the “Drilling

             Operations”).

                    6.       Despite Canrig’s requests for payment, Performance has refused to pay its

             indebtedness to Canrig.

                    7.       Between April 19, 2019 and July 1, 2019, Lilis paid Performance not less than

             $2,054,248.98 on account of the Drilling Operations (together with any prior payments made by

             Impetro or Lilis to Defendant, the “Trust Funds”).

                    8.       Pursuant to Chapter 162 of the Texas Property Code, Performance is a trustee of

             the Trust Funds, Canrig is a beneficiary of the Trust Funds, and Performance is required to use the

             Trust Funds to pay its indebtedness to Canrig and account to Canrig for the Trust Funds.


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                      9.      Canrig, in all probability, will prevail on its claims that Performance is in breach of

             the Rental Agreement and that Canrig is a beneficiary of the Trust Funds.

                      10.     As trustee of the Trust Funds, Performance is obligated to, inter alia, account for

             the Trust Funds and ensure they are properly distributed to beneficiaries of the Trust Funds,

             including Canrig.

                      11.     To preserve the status quo of Canrig’s rights, this Court shall issue a temporary

             restraining order against Performance, its officers, directors, employees, agents, attorneys, or any

             other person or entity acting on Defendant’s behalf with respect to the Trust Funds (i) prohibiting

             the payment, use, dissipation, diversion, or disbursement of the Trust Funds until such time as this

             Court may hear and determine Canrig’s application for temporary injunction and (ii) requiring that

             Performance account to Canrig for any disposition of and use of the Trust Funds prior to the date

             of this Order.

                                                           II.
                                                Temporary Restraining Order

                      IT IS, THEREFORE, ORDERED that this Temporary Restraining Order shall be

             immediately binding on Performance Drilling Company LLC and its officers, agents, servants,

             employees, and attorneys and upon those persons in active concert or participation with them who

             receive actual notice of this Order by personal service or otherwise (collectively the “Enjoined

             Parties”).

                      IT IS FURTHER ORDERED that the Enjoined Parties be, and hereby are, restrained and

             enjoined from paying, using, dissipating, diverting, disbursing, or otherwise disposing of the Trust

             Funds.

                      IT IS FURTHER ORDERED that the Enjoined Parties shall, within seven (7) days of

             receiving actual notice of this Order, provide an accounting to Canrig of the Trust Funds which

             shall include an identification of (i) all amounts paid to Defendant by Impetro or Lilis, (ii) in what


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             account such funds are held, and (iii) to whom any such funds have been disbursed, when such

             disbursements were made, and for what purpose.

                      IT IS FURTHER ORDERED that unless terminated earlier by this Court, this Temporary

             Restraining Order shall expire fourteen (14) days from the date of entry of this Order unless, within

             the time limit set out above, the Court extends the effectiveness of this Order in compliance with

             applicable law or it is extended by agreement of the parties; and

                      IT IS FURTHER ORDERED that Performance Drilling shall appear before this Court
                      21st          1:00     p
             on August ___, 2019 at _________ ___.m. in the courtroom of the 109th Judicial District Court of

             Winkler County, Texas, then and there to show cause, if there be any, why a temporary injunction

             should not be issued as requested by Plaintiff.

                      The Clerk of the Court is hereby directed to issue a show cause notice to Performance

             Drilling to appear at the temporary injunction hearing. Canrig’s counsel is directed to attempt to

             accomplish service of the Citation, this Order, and the Order to Show Cause issued by the Clerk,

             by personal delivery, certified mail, return receipt requested, or courier, return receipt requested,

             by a Sheriff or Constable of the State of Texas, Canrig’s counsel, or any other person competent

             to make oath of the fact of service upon Performance Drilling; and

                      IT IS FURTHER ORDERED that due to the expedited nature of the relief requested, any

             discovery related to the matters set for hearing before the Court on Canrig’s application for

             temporary injunction on the above date shall be served or noticed no later than three (3) days

             following service of this Order and all responses to such discovery or depositions noticed shall be

             served or completed within ten (10) days of the service of the discovery requests; and

                      IT IS FURTHER ORDERED that the Clerk of this Court shall forthwith, on the filing by

             Canrig of the bond hereinafter required, and on approving same according to the law, issue a

             temporary restraining order and show cause notice in conformity with the law and the terms of this

             Order.

                                                               4
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                    IT IS FURTHER ORDERED that this Order shall not be effective unless and until Canrig

             executes and files with the Clerk a bond, in conformity with the law, in the amount of
           ten thousand dollars                                 10,000.00
             _______________________ and no/100 U.S. Dollars ($____________.___).
                        9th
             SIGNED this ___ day of August 2019.


                                                      HONORABLE JUDGE PRESIDING




                                                         5
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